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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

KYTCH, INC.,
                                                   No. ______________
                   Plaintiff,
                                                   Jury Trial Demanded
v.

MCDONALD’S CORPORATION,

                   Defendant.



                                        COMPLAINT1
        1.      McDonald’s is best known for its world-famous burgers, fries, and broken ice

 cream machines. The problem is so widespread that even the McDonald’s communications team

 has tweeted about the issue:




        2.      Thousands of frustrated customers complain about the broken machines, and

 McDonald’s operators are forced to pay for costly repairs and maintenance to keep the machines

 up and running.




 1
  Kytch pleads the following recitals with knowledge of its own conduct and on information and
 belief of the behavior of Defendant McDonald’s Corporation and third parties.



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       3.      Some franchise operators have reported shelling out thousands of dollars per month

in service fees to Taylor Company (“Taylor”), the manufacturer of the machines, through its many

franchised distributors.

       4.      Despite these widespread issues, McDonald’s has failed to meaningfully improve

the machines, and the fast-food giant has even granted Taylor exclusive rights to supply kitchen

appliances to more than 13,000 retail locations in the United States. This arrangement generates

millions of dollars of revenue for Taylor and its network of franchised distributors.

       5.      McDonald’s allows Taylor’s monopoly to continue for two reasons: first,

independent owner operators—and not McDonald’s itself—pay for Taylor’s costly service and

repair fees.   Second, Taylor develops new commercial kitchen products exclusively for

McDonald’s.

       6.      This lucrative scheme between McDonald’s and Taylor continued uninterrupted for

years until a tech startup developed the “Kytch Solution,” a low-cost, data-driven fix for

McDonald’s broken C602 machines that one McDonald’s operator described as “very, very, very,

finicky.”

       7.      Jeremy O’Sullivan and Melissa Nelson co-founded Kytch, Inc. and invented the

Kytch Solution, an independently developed IoT computer device with proprietary software and

an online interface that allows customers to monitor and control soft-serve machines remotely.

The Kytch Solution retrieves data from McDonald’s soft-serve machines, displays it on Kytch’s

user-friendly interface, and adjusts settings hidden deep in the machines, which can prevent

outages before the machines can detect an error. By delivering performance data directly to its

customers, predicting errors, and adjusting machine settings, Kytch reduces machine downtime

and minimizes the need for costly repair appointments.




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       8.        In 2019, Kytch launched a confidential product trial (the “Kytch Trial”) after

dedicating significant capital to develop the solution. The product trial allowed Kytch to aggregate

and analyze machine hours to create automated adjustments that reduce the machines’ downtime.

By analyzing this customer data in real-time, Kytch developed and fine-tuned a proprietary alert

and notification system wildly popular with customers, launching Kytch’s rapid market growth

and instant success.

       9.        By contrast, McDonald’s and Taylor have spent twenty years attempting to develop

their own IoT solution for the broken machines. But the competing product (unlike Kytch’s) will

not permit users to fix the broken machines—only to monitor them in a limited fashion. This

enables Taylor to retain the revenue from its lucrative repair business. Regardless, McDonald’s

and Taylor’s limited IoT product, called “Open Kitchen,” has never launched—because Taylor is

not a software company and it lacked the knowhow. Recognizing Taylor’s limitations, in April

2019, Taylor’s parent company, Middleby Corporation, purchased a tech company called

Powerhouse Dynamics (“PHD”) to try to modernize Taylor’s machines. But these efforts to date

have faltered.

       10.       By the end of 2019, McDonald’s tabled Taylor’s proposed solution as premature

for its restaurants. The project remained dormant until a February 2020 Business Insider article

about Kytch highlighted many of the problems with Taylor’s machines and described Kytch as a

viable solution to “correct[] unnecessary malfunctions” that cause downtime.

       11.       The article described Kytch’s success and explained that McDonald’s operators

were relying on the Kytch Solution to manage Taylor’s finicky machines. The positive coverage

about Kytch angered McDonald’s. Taylor’s CEO described McDonald’s leadership as “all hot




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and heavy about” Kytch’s successes that were described in the article. So the two companies

joined forces to drive Kytch out of the marketplace.

       12.     Unable to compete fairly with Kytch, McDonald’s and Taylor enlisted a group of

Kytch Trial participants to develop a competing product that would prevent Kytch from fixing the

machines. McDonald’s and Taylor relied on Taylor’s franchise distributors—including TFGroup

LLC (“TFG”)—to identify Kytch’s customers and to obtain Kytch’s innovative technology.

       13.     McDonald’s and Taylor held bi-weekly meetings devoted to copying Kytch’s

technology from the Kytch Trial participants. Meeting minutes describe focus group sessions with

Kytch customers and confirm that Taylor accessed valuable and nonpublic insights into Kytch’s

features, user experience, customer preferences, and alert management protocols—“[f]eatures

from Kytch” that McDonald’s and Taylor admitted “we’re lacking.”

       14.     McDonald’s Director of Global Equipment, Mike Zagorski and Taylor COO Jim

Minard accessed the password-protected portions of Kytch’s online interface, the Kytch Solution

Platform (“KSP”), during a Zoom conference that McDonald’s scheduled for June 23, 2020.

       15.     TFG improperly obtained a physical Kytch Solution Device (“KSD”) from

Tyler Gamble in May 2020, and Gamble provided TFG his login credentials to the KSP the

following month. Using this unauthorized access, TFG sent Taylor screen captures depicting

password-protected portions of the KSP. And McDonald’s, Taylor, PHD, and TFG coordinated

to add features to Open Kitchen using feedback from Kytch’s customers based on their user

experience with Kytch.

       16.     Despite this insider access to Kytch’s confidential product trial, McDonald’s and

Taylor’s Open Kitchen could not keep up with Kytch. In mid-October 2020, after having access

to the Kytch Solution for months, Open Kitchen was still not ready to commercialize.




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       17.     Kytch was the only product on the market that was positioned to fix the soft-serve

machines at McDonald’s. Kytch soon gained market dominance after the largest organization of

independent McDonald’s operators—the National Owners Association (“NOA”)—endorsed

Kytch at its national conference.

       18.     McDonald’s took note and met with Taylor after the endorsement. According to

Taylor’s internal emails, “McDonald’s [was] putting all of their eggs in this basket to fight Kytch”

because “[t]hey have nothing else ready from their own IT Team.”

       19.     In the days that followed, McDonald’s Director of Equipment, Mike Zagorski,

directed that “[t]hings need to go much faster” with Taylor’s Open Kitchen development, which

was moving at a “turtle[’]s pace.” McDonald’s also warned Taylor that independent restaurant

operators were demanding that McDonald’s integrate Kytch into the McDonald’s system. This

threatened to undermine Taylor’s longstanding service and repair racket that the new

Open Kitchen device was being designed to protect. McDonald’s and Taylor needed to buy more

time to get Open Kitchen to the market.

       20.     To that end, McDonald’s and Taylor worked together to create a stall tactic.

Together they fabricated bogus “safety” claims to mislead Kytch’s customers into believing that

safety testing determined that the Kytch Solution would cause “serious human injury” to users—

claims that are, and that McDonald’s and Taylor both knew at the time to be, demonstrably false.




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       21.    Even Taylor was surprised that McDonald’s was so willing to go out of its way to

disparage and defame the KSD. But the reason for McDonald’s eagerness was clear—the false

safety alert was a pretext to “promote the new connectivity platform” that McDonald’s and Taylor

needed time to develop and market to the independently-owned restaurants.




       22.    The claims in the ad about Kytch are demonstrably false and materially misleading

to consumers. First, contrary to their assertions, McDonald’s and Taylor have filed sworn




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declarations that they never tested the Kytch Solution.2 Both McDonald’s and Taylor tried to

obtain the devices through Kytch, but they were unwilling to sign binding NDA/non-compete

agreements to do so. Second, Intertek, an industry leader in quality and safety product testing, has

certified that Kytch satisfies all electrical safety requirements in accordance with

Underwriters Laboratories (UL) and FCC regulations. These are the same standards that apply to

Taylor’s soft-serve machines used in McDonald’s locations throughout North America. Third,

Kytch was founded for the very purpose of, and has been in fact, improving the safety and

reliability of the soft-serve machines at McDonald’s, and Kytch has never received a single report

of injury caused by the Kytch Solution. Fourth, far from being comparatively more dangerous

than Taylor’s competing device, the Kytch Solution integrates (and is constrained by) the soft-

serve machines’ safety mechanisms. For example, when the freezer door is removed exposing

interior parts of the machine that might create a safety risk, a magnetic interlock system disables

motor function to protect the operator from injury, and Kytch cannot operate the machine remotely.

Thus, while Kytch does have the ability to remotely control the machine, it is limited by Taylor’s

existing control mechanisms—including this magnetic interlock system—to ensure safety. Fifth,

Kytch’s interface gives users complete monitoring and control, in real-time, of the Kytch

Solution’s functions.

       23.     Because of these safeguards and certifications, there is compelling direct evidence

that conclusively disproves McDonald’s claims that the Kytch Solution is unsafe and

uncontrollable.



2
  Kytch has filed suit against Taylor, TFG, and Tyler Gamble in Alameda County Superior Court
in Oakland, California. Taylor COO James Minard submitted a declaration in that litigation stating
that Taylor has never possessed a Kytch device. References to the Defendants’ internal emails
and records were produced in discovery and are part of the public record.



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       24.     McDonald’s and Taylor knew that their claims were false because Tyler Gamble—

their primary source for intelligence about Kytch—told them so. In the days before McDonald’s

and Taylor’s false and deceptive ads were published, Gamble sought safety information from

Kytch’s founder, Jeremy O’Sullivan, and unbeknownst to Kytch, forwarded O’Sullivan’s

explanation for why any safety concerns were baseless:

               “There are a number of layers of protection. First, the machine should be
               powered off and unplugged before any work is started. This is a standard
               safety for any equipment. Second, there is a sensor on the freezer door that
               when the freezer door is removed prevents the motor from turning on.
               Third, we do have a mechanism in place that disables any automation when
               a user takes control of the front panel by pressing any buttons. Also the
               product has been tested and certified for safety to UL standards by Intertek
               labs.”

       25.     McDonald’s and Taylor received and understood these facts, but intentionally and

recklessly disregarded them and falsely accused Kytch of being prone to cause “serious human

injury.” McDonald’s and Taylor published these false claims to all of Kytch’s current customers

and many of its potential customers, including to all McDonald’s operators in North America (and

to Coca-Cola and Burger King). At the same time, McDonald’s and Taylor announced that they

would be launching their competing Open Kitchen device in Q1 2021 despite knowing all along

they could never meet this deadline. The purpose: to convince McDonald’s restaurant owners to

cancel their contracts with Kytch and thwart Kytch’s forward momentum in the market giving

McDonald’s and Taylor more time to develop their competing Open Kitchen system.

       26.     Indeed, a full eight months before McDonald’s and Taylor’s false ads, McDonald’s

insiders informed Kytch that McDonald’s and Taylor would fabricate safety concerns to destroy

Kytch’s business: “If they don’t want [Kytch] in the market, they’re going to throw that [safety]

stuff at you [to throw you] under the bus. And keep putting that at you until you go away

eventually.”



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       27.     Those words were prescient.

       28.     McDonald’s and Taylor’s advertisements fail to provide substantive details

regarding Kytch’s supposed operational safety risks or what “potential equipment reliability

issues” the KSD causes—because these are complete fabrications.                 Rather, Taylor has

intentionally created “equipment reliability issues” for years, and its repair and maintenance

business has earned hundreds of millions of dollars in fees for repairs that Taylor itself caused.

       29.     To date, McDonald’s and Taylor still have not released Open Kitchen. They claim

in court filings that development is “nearly complete.” But this development was only possible

because McDonald’s and Taylor improperly obtained Kytch’s confidential information. This, in

combination with the false advertising attacking the safety of the Kytch device, allowed

McDonald’s and Taylor to gain a head start to launch Open Kitchen using proprietary insights that

came from years of Kytch’s costly product development.

       30.     The damage to Kytch was instant and monumental. Customers contacted Kytch in

the days following the ads and canceled their subscriptions because of McDonald’s false assertions

that Kytch was unsafe and prone to cause serious human injury. Kytch had been barreling towards

a $50 million valuation in 2020 as it quickly expanded to fast-food restaurants throughout the

country—and its valuation in the following year was projected to be exponentially more.

       31.     That all changed after the false ads, and Kytch was soon unable to court investors

to help fund its exponential growth trajectory. Thus, McDonald’s unlawful conduct had dire

financial consequences for Kytch, its founders, investors, and its employees.

       32.     Kytch brings this action to set the record straight, to vindicate the company’s rights

under civil law, to curb McDonald’s anti-competitive conduct, to recover compensatory and




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punitive damages, to protect the consuming public from false and misleading advertisements, and

to finally fix McDonald’s broken soft-serve machines.

                                             PARTIES

                                      Kytch’s Background.
         33.     Plaintiff Kytch, Inc. is a Delaware corporation. Kytch considered the Kytch

Solution and aspects of the KSP to be confidential that it would only disclose under a

confidentiality agreement. McDonald’s had actual knowledge of these facts and it reviewed

Kytch’s confidentiality terms in the spring of 2020.

         34.     Kytch’s data-driven product testing ultimately yielded next-generation IoT

technology that cemented the company’s status as a leader in the industry.

         35.     Kytch launched its flagship device, the Kytch Solution, in Spring 2019 as part of a

confidential product trial to limited fast-food restaurants. Kytch spent years developing a trade

secret man-in-the-middle technology (known as the KSD), to unlock Taylor’s cryptic soft-serve

machines. Kytch also designed an online system, the KSP, for its customers to manage and

monitor their machines.3 The KSP is equipped with a user-friendly interface to simplify the

confusing Taylor machines.

         36.     Kytch uncovered a repair racket whereby Taylor designed flawed code that caused

the machines to malfunction. One of Taylor’s service partners described this arrangement as a

“money trap,” and further explained that Taylor’s “service department will reap the benefits of

[the] steady stream of repair bills” to keep the machines up-and-running.

         37.     Kytch originally agreed to provide its confidential technologies and user interface

to trial participants under strict non-disclosure and non-use agreements (the “Kytch Trial



3
    The KSD and the KSP are referred to collectively as the “Kytch Solution.”



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Agreement” and “Terms of Service”). The Kytch Trial was an overnight sensation, and media

outlets reported on the innovative technology that promised to reduce the machines’ downtime and

to consistently deliver more frozen treats to McDonald’s customers.

          38.   As the Kytch Trial expanded in 2020, it became the largest independent

IoT/connectivity software vendor for the shake machine in the McDonald’s system. By all

appearances, the KSD modernized the outdated soft-serve machines that had frustrated customers

for years.

          39.   Through years of development, Kytch has built expertise, proprietary insights,

diagnostic tools, and notification systems for the growing “smart kitchen” marketplace.

          40.   Kytch’s founders, Jeremy O’Sullivan and Melissa Nelson have worked with

Taylor’s executive team for years. Documents produced in discovery demonstrate that the

company knew that Kytch was protecting its proprietary information through non-disclosure

agreements and industry-leading security measures described in more detail below.

          41.   McDonald’s misconduct injured Kytch. Kytch suffered significant loss of revenues

and profits because of McDonald’s actions, which caused, among other things, a decline in Kytch’s

sales. Likewise, Kytch will suffer significant loss of revenues and profits in the future due to

McDonald’s misconduct. And Kytch lost valuable intellectual property and suffered reputational

damage because of McDonald’s unlawful acts.

                 Background of McDonald’s and Its Co-Conspirators.
          42.   Defendant McDonald’s Corporation is a Delaware corporation.         McDonald’s

Director of Global Equipment Development, Mike Zagorski, and its Director of Global Strategic

Sourcing, John Sulit, directed, supervised, and oversaw the unfair competition campaign alleged

herein.




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       43.    Taylor Commercial Foodservice, LLC DBA Taylor Company is incorporated in

Delaware. Taylor manufacturers soft-serve machines for McDonald’s and other commercial

kitchens. Taylor’s CEO Jeremy Dobrowolski, its COO James Minard, and its Senior Business

Manager for McDonald’s Scott Nicholas directed, supervised, oversaw, and participated in the

misappropriation of Kytch’s confidential information and the unlawful competition alleged herein.

       44.    TFG is Taylor’s certified repair partner and distributor. TFG describes itself as

utilizing “analytical advances to ensure speed of service, reduction of equipment downtime and

labor savings.” TFG, through its principal Blaine Martin, its repair technician Ben Rhodes, and

others, misappropriated Kytch’s confidential information and attempted to reverse engineer the

KSD.

       45.    Jonathan “Tyler” Gamble operates ten McDonald’s restaurants. Gamble is an

independent franchise owner, and at all times relevant he served as the Equipment Team Lead for

McDonald’s National Supplier Leadership Council.4          Gamble worked closely with other

influential McDonald’s franchise owners to misappropriate Kytch’s confidential information.

       46.    Gamble enrolled in the Kytch Trial after executing the binding Kytch Trial

Agreement and after representing that he and his company would not use Kytch’s information to

“build or support, and/or assist a third party in building or supporting products or services

competitive” to Kytch. (Kytch Terms of Service, § 1(g).)

       47.    The Kytch Trial Agreement incorporates Kytch’s binding Terms of Service, and

those provisions, among other things, prohibit Gamble and the other Kytch Trial participants from




4
 This complaint refers to the National Supply Leadership Counsel as the “NSLC,” and the NSLC’s
Equipment Team as the “McDonald’s Equipment Team.”



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“providing unauthorized access or exceeding authorized access to [Kytch’s] products, services or

any account.” (Kytch Terms of Service, § “Notice.”)5

       48.    Kytch is informed and believes that McDonald’s, in committing the acts or

omissions alleged in this Complaint, conspired with, aided and abetted, or otherwise acted in

concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants.

                                 JURISDICTION & VENUE
       49.    The Court has subject matter jurisdiction over the Lanham Act claims pursuant to

15 U.S.C. § 1121. The Court has supplemental jurisdiction over all other claims pursuant to

28 U.S.C. § 1367(a) because they are all part of McDonald’s coordinated effort to destroy Kytch’s

business. The claims are thus so closely related to the federal claims asserted herein as to form

part of the same case and controversy.

       50.    This Court has general personal jurisdiction over McDonald’s, which is

incorporated under the laws of Delaware.

       51.    Venue in this Court is proper under 28 U.S.C. § 1391(b)(1) because Defendant

McDonald’s resides in Delaware, its state of incorporation.

                                 FACTUAL ALLEGATIONS

McDonald’s Ice Cream Machines Are Notorious for Frequently Breaking Down.
       52.    Most McDonald’s restaurants are equipped with Taylor Model C602 soft-serve

machines. This model is not available for purchase by the public.




5
 Copies of the Kytch Trial Agreement and the Terms of Service that bind Gamble and the other
Kytch Trial participants are attached as Exhibit 1.



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                                  (C602 Soft-Serve Machine)

       53.    Although Taylor occupies a substantial share of the soft-serve machine market—a

large segment of franchised restaurants, and almost 100% within McDonald’s restaurants—its

machines are “notorious for constantly breaking down.” The machines’ reputation for breaking

led The Wall Street Journal to explain in a recent story that “[t]he interruption in ice cream,

milkshake, and McFlurry service is so widespread that it has spawned an avalanche of social media

complaints in the U.S. and abroad—and conspiracy theories.”6

       54.    In response to the criticism, McDonald’s and Taylor have tried to deflect

responsibility despite widespread complaints across the world. Taylor’s COO James Minard has

referred to news coverage about the machine malfunctions as “Fake news,” in what appears to be



6
 Julie Jargon, Why Is The McFlurry Machine Down Again, The Wall Street Journal, (Jan. 19,
2017), https://www.wsj.com/articles/six-horrifying-words-the-mcflurry-machine-is-down-again-
1484840520.



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an attempt to discredit The Wall Street Journal’s headline bearing the question, “Why is the

McFlurry Machine Down Again?”




       55.    McDonald’s has publicly claimed that it is “committed to doing better” and

improving the machines, but no meaningful progress has been made.

       56.    The ridicule McDonald’s has received from the media because of the defective ice

cream machines is more serious than the whimsical headlines suggest because some of the

problems have alarming public health implications for consumers.

       57.    A recent study conducted by Dateline, for example, assessed the cleanliness of top

fast-food chains, including McDonald’s. According to that NBC News report, “[m]ore than 120

people were sickened after eating ice cream at their local McDonald’s.”7




7
  Jack Cloherty, Dirty Dining: The investigation NBC News producer Jack Cloherty shares the
story behind Dateline’s cleanliness survey of top fast food chains, NBC News (Mar. 10, 2005),
https://www.nbcnews.com/id/wbna7149927.



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       58.     That is not surprising. Proprietary data Kytch has developed about McDonald’s ice

cream machines from an analysis of its customer data revealed that many of the Taylor machines,

including the C602, have a manual switch allowing users to bypass mandatory pasteurization and

brush cleanings. A significant portion of the machines in the Kytch Trial operated with this bypass,

in violation of public health agency and food safety regulations. Indeed, for years, Taylor’s service

manuals for the C602 contained specific procedures to bypass the regulations.

       59.     Despite these issues, and in complete disregard of state and county inspection

reports confirming that the machines breach safety protocols, McDonald’s pattern of denialism

continued for years.

       60.     Separate from the serious public health concerns created by the machines, there are

also significant anti-competitive concerns raised by McDonald’s and Taylor’s conduct in requiring

Taylor soft-serve machine owners to have their machines serviced and repaired only by Taylor-

certified technicians.

       61.     On September 1, 2021, The Wall Street Journal reported that the Federal Trade

Commission had launched an investigation into this issue and was contacting McDonald’s

franchise owners seeking information about the broken ice-cream machines.8




8
  Heather Haddon, McDonald’s McFlurry Machine Is Broken (Again). Now the FTC Is on It, the
frequently malfunctioning equipment leads to a lawsuit and gets the federal antitrust agency
involved, The Wall Street Journal (Sept. 1, 2021), https://www.wsj.com/articles/mcdonalds-
mcflurry-machine-is-broken-again-now-the-ftc-is-on-it-11630522266.



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       62.     These reports continued, and the following month The Daily Show with

Trevor Noah dedicated a segment to exploring Taylor’s broken soft-serve machines and

highlighting the right-to-repair movement.9 Noah described reports that Taylor has “deliberately

built-in flaws in order to profit on repairs when [Taylor’s] technicians have to fix the machines.”




       63.     This coverage caught investors’ attention. During a November 9, 2021 earnings

call for Middleby (Taylor’s parent company), an industry analyst asked Middleby CEO

Timothy Fitzgerald to address the broken machines. The analyst referenced the myriad “reliability

issues” reported by the media and explained “there’s an awful lot of articles and things around the

Taylor ice cream machines.”

       64.     Fitzgerald replied by admitting that the broken machines “drive[] a lot of revenue”

to the company. He also said that Taylor and Middleby are “doing everything we can to make

sure that our piece of equipment, which is highly core to our customers, really has the best




9
 The Daily Show with Trevor Noah, The Right to Repair Movement – If You Don’t Know, Now
You Know (aired Oct. 7, 2021), https://www.youtube.com/watch?v=UA7hZDfQDws.



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technology in there.” He went on to explain that Middleby is “doing a lot using technology

actually with IoT and kind of our next-generation piece of equipment.”

        65.       Fitzgerald’s remarks made no mention of McDonald’s and Taylor’s sustained

efforts to obtain Kytch’s technology through improper means.

                        Kytch’s Product Testing Reveals that Defects
                              Were Built into the C602 Machines.
        66.       Kytch’s innovation relies on a data-driven, iterative process that harnesses the

collection and analysis of large amounts of data.

        67.       Before launching Kytch, in 2011 Kytch founders Jeremy O’Sullivan and

Melissa Nelson started a predecessor company, Frobot, Inc. Frobot is a fully robotic frozen yogurt

dispenser that produces made-to-order frozen confections. Frobot is designed to interact with soft-

serve machines made by Taylor.

        68.       Through that venture, Frobot informed Taylor’s leadership about its device that

promised to augment the capabilities of the Taylor machines, including automation and increasing

safety offerings.

        69.       This innovation required years of product development and additional safety testing

given that the process involves serving dairy products to the public. Taylor’s response to Frobot’s

prototype was positive, and years of—and significant capital devoted to—product development

followed.

        70.       Frobot had a small fleet of Taylor machines, and Nelson and O’Sullivan soon

learned that the only way to keep the machines up and running was through frequent and expensive

service visits.

        71.       After only a few months of gathering data, it became clear that the Taylor soft-serve

machines were not very robust, and the finicky software was constantly causing outages.



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       72.     Kytch was founded in 2018, and its original purpose was to develop a safety add-

on to the automated soft-serve machines. In contrast to Frobot’s focus on automation capabilities,

Kytch focused on data and software to optimize the soft-serve machines and reduce outages.

       73.     The Kytch Solution officially launched in July 2019 before expanding to fast-food

restaurants in the broader San Francisco area a short time later.

       74.     Kytch soon learned that the C602 machines are designed to prohibit users from

accessing the fulsome “Technician’s Menu” that operates the machines. The limited menu

contains confusing messages that leave McDonald’s franchisees frustrated and unable to operate

the machine, causing them to “call the technician” for even minor problems. One example of the

cryptic error messages is below.




       75.     Restaurant operators are unable to navigate the messages and notifications depicted

on the control panel Taylor designed. This lack of clarity has kept Taylor’s customers dependent

on Taylor-certified technicians (including TFG) to operate their soft-serve machines.

       76.     Kytch’s founders launched Kytch to demystify the machines and to automatically

detect the appliances’ frequent errors as they happen.

             Kytch’s Innovative Technology and Confidential Information.
       77.     Kytch’s technology consists of two parts: (1) the KSD, a small physical computer

with software to understand the ice cream machine’s internal communications between


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components and the Taylor interface and (2) the KSP, an online interface that receives messages

from the KSD through the internet and presents customers a convenient user interface, friendlier

than the one Taylor intended.

       78.     The KSD is an easy-to-install device that can be bolted on the soft-serve machines.

When mounted on the machine and connected to the KSP, Kytch’s IoT technology and data

retrieval processes enable restaurant operators to see exactly what is going on with their machines.

       79.     Together, the KSD and KSP comprise the Kytch Solution. The KSD and KSP also

allow Kytch’s Trial participants—subject to binding NDAs—to monitor and control their Taylor

machines remotely, by logging into the password protected KSP.

       80.     The KSP uses machine learning to identify which notifications and alerts to

generate, as well as the timing and content of those alerts. Kytch’s intensive data-analytics and

automated processes work in tandem to optimize machine performance. Kytch developed these

insights over years of reviewing and analyzing Taylor soft-serve machines across Kytch’s system.

       81.     Importantly, the KSP also allows customers to invite team members to manage and

navigate the online interface.

       82.     The data Kytch collects has enabled the company to perform market assessments

to anticipate shifting demands, to develop pricing strategies, and decide when and where to launch

products. It also informs Kytch’s investments in product development and new technologies.

       83.     Indeed, based on Kytch’s robust data retrieval and analytics capabilities, Kytch

possessed considerably more data about Taylor soft-serve machines, performance histories, and

performance optimization than Taylor itself.




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             The Kytch Solution Is Safe and Certified by Intertek to Comply
                        with FCC Regulations and UL Standards.
       84.      Kytch’s central mission is to improve the safety and reliability of soft-serve

machines. Kytch spent years and many hundreds of hours monitoring the soft-serve machines and

creating a solution that incorporates Taylor’s existing safeguards.

       85.      The Taylor machine’s marketing materials say that Taylor has “gone to extreme

efforts to design” mechanisms to keep users safe.         The Kytch Solution complements and

incorporates these safety efforts.

       86.      One example is the magnetic lock system. When the freezer door is removed, users

can be exposed to moving parts of the soft-serve machine, such as the beater depicted below.




                                 (Taylor Model C602 Beater)
       87.      Rotating blades attached to the beaters scrape soft serve mix from the walls of the

machine’s cylinder as it freezes. Taylor’s magnetic interlock system is triggered whenever the

freezer door has been opened or removed (and the beater is exposed). This system disables the

motor and prevents users from inadvertently engaging the beater or other moving parts within the




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machine while the door is open. Removing the freezer door also automatically disables the buttons

on the control panel to ensure that the motor is not turned on.

       88.     Kytch operates within these critical safety functions, and Kytch cannot and does

not override the magnetic interlock system or the disabled control panel. Kytch also disables its

automation features when users are cleaning the interior of the machine and when anyone presses

the physical buttons on the control panel.

       89.     On top of these safety features, the KSD cannot operate when machines are

unplugged or turned off. Taylor’s operations manuals state that technicians must turn off and

unplug the soft-serve machines before completing any maintenance or service repairs. 10 These

safety steps are standard in the industry.

       90.     Far from endangering customers, Kytch made the C602 machines safer by allowing

users to monitor their machines and by flagging when employees miss cleaning or heating cycles

required by food safety regulations. For example, Kytch discovered that many of the C602

machines have a jumper installed on the W2 pins on the rear of the machine. This jumper disables

necessary safety mechanisms related to mandatory pasteurization and heating cycles. Taylor has

been aware of this hazard for years, but it has taken no action to correct this defect. This violates

NSF International’s food safety requirements and may endanger consumers.

       91.     Kytch instructs customers how to avoid this dangerous condition.

       92.     The data Kytch gathered demonstrates that the KSD actually improves the C602

and other Taylor machines by increasing uptime and preventing common errors before they occur.




10
  The manual states: “The main power supplies to the machine must be disconnected prior to
performing any repairs.”



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       93.     In addition to Kytch’s in-house safety testing, Intertek—an independent lab

designed to test and certify products to North American safety standards—has certified that

Kytch’s products comply with the same safety standards as Taylor’s products.

       94.     Manufacturers like Kytch that sell radio transmitters in the United States must have

their products tested by FCC accredited labs and certified by the FCC for electromagnetic

compatibility (“EMC”) compliance. Radio devices like the KSD are subject to a series of FCC

regulations, commonly referred to as “Part 15.” 47 C.F.R. Part 15. To obtain certification for such

devices, a company must submit a representative sample device to an independent testing facility

that determines, among other things, whether the power output levels for the devices comply with

FCC Part 15 regulations.

       95.     That is precisely what Kytch did. In June 2019, Kytch contracted with Intertek to

subject the KSD to rigorous safety testing at Intertek’s laboratory. Intertek completed those tests

and confirmed that the KSD complied with FCC regulations and that it did not present a safety

hazard for end-users.

       96.     Intertek issued a report explaining its findings. “Based on the results of our

investigation we have concluded the [KSD] complies with the requirements of [FCC Part 15

Subpart B and Industry Canada ICES-003 Issues 6].” Intertek also confirmed that the KSD

satisfies radiated emissions standards and that it “met the radiated disturbance” and “conducted

disturbance” FCC requirements.11

       97.     This EMC compliance testing was not the only safety testing Intertek completed.

The KSD was also certified through Intertek’s Extract-Transform-Load (“ETL”) testing. ETL


11
  Radiated emissions are unintentional energy that escape the equipment in the form of electric,
magnetic, or electromagnetic fields. Conducted emissions are unintentional energy carried out of
the equipment on the equipment’s power cables or attached signal cables.



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testing ensures that data is accurately loaded from the machines and transmitted to the Kytch

device. ETL testing also verifies the data at various middle stages of the communications process

between source and destination.

       98.     Intertek completed additional testing including input tests, marking tests,

temperature tests, and tests to classify electrical energy sources. Kytch passed these tests with

flying colors. After this independent testing, Intertek concluded that the KSD “has been evaluated

and found to comply with the applicable requirements” and standards developed by UL. (UL is a

corporation that promulgates and certifies compliance with safety standards for thousands of

consumer and other products.)

       99.     Through this testing, Intertek confirmed:

                 The KSD “does not pose a risk of shock hazard” because its power source is

                  “not accessible to an end user.”

                 “All uninsulated live parts in primary circuitry are [] housed within a[n]

                  enclosure” and are “not accessible to end users.”

                 “All ferrous metal parts are protected against corrosion.”

       100.    These are just a few examples of Intertek’s findings confirming that the KSD is

safe. Indeed, Intertek would not have certified the KSD if it determined that it presented a serious

risk of human injury as McDonald’s and Taylor later claimed. Each KSD is marked with Intertek’s

certification explaining that it conforms with UL standards.

       101.    Kytch displays this certification label prominently to notify users that it has passed

rigorous—and time consuming—safety testing. Thus, McDonald’s had actual knowledge that

Kytch had passed safety tests. Kytch has always prioritized product safety: not a single customer

has ever reported an injury using the KSD or the KSP.




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   NDAs and Other Security Measures Protect Kytch’s Valuable Confidential
                                         Information.
       102.    Kytch has built expertise, proprietary insights, diagnostic tools, and notification

systems for the growing “smart kitchen” marketplace.

       103.    Because one of Kytch’s key strategic advantages lies in its proprietary information,

Kytch operated strict controls over access to the Kytch Solution and portions of the KSP. Kytch

required its customers to enter into a non-disclosure agreement to protect Kytch’s confidential

information. The Kytch Trial Agreement (the “NDA”) reflects the fundamental nature of Kytch’s

relationship with its customers. The NDA encompasses both the Kytch Trial Agreement and the

Terms of Service incorporated in that document.

       104.    Kytch’s customers sought out Kytch’s data-driven approach to fixing the machines.

Kytch, on the other hand, needed to make sure that one of its chief assets—its innovative hardware

and software were protected from competitors.

       105.    Kytch would never just give away its confidential information for free or so that

third parties could use them for their benefit, much less to benefit Kytch’s competitors in the IoT

industry. The NDA memorializes how Kytch and its customers came together around these

competing interests: each customer was obligated and agreed to keep the information and devices

Kytch provided confidential, and they could use it only in furtherance of the Kytch Trial.

       106.    The NDA states that Kytch Trial participants and those who accepted the Terms of

Service “may not and may not directly or indirectly cause, permit, or allow others to . . . make

[Kytch’s] Products or Services, including any Kytch programs or materials to which you are

provided access, available in any manner to any third party.” Terms of Service §1(g).

       107.    The NDA also prohibits “access[ing] or us[ing] [Kytch’s] services in order to build

or support, and/or assist a third party in building or supporting, Products or Services competitive



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to Kytch.” Likewise, Kytch Trial participants and users must not “disclose the results of the

performance of [Kytch’s] Products and Services without Kytch’s prior written consent.” Id.

         108.   Further, Kytch Trial participants “shall not, and shall not cause or permit others to

. . . distribute or republish all or any part of [Kytch’s] Products or otherwise access or use the

Products in order to build or support, and/or assist a third party in building or supporting products

or services competitive to any Kytch Products.” To avoid doubt, the NDA expressly forbids

“display[ing] . . . or mak[ing] the Kytch Products available to (or use such Products for the benefit

of) any third party.” Kytch Trial Agreement § D.

         109.   Finally, the NDA limits use of Kytch’s products to the Kytch Trial, and Kytch Trial

participants and users must not utilize “the Products for any business other than” the Kytch Trial,

and they cannot use the Products or disclose any of Kytch’s confidential information “for any

purpose other than [] evaluat[ing] the [Kytch] Solution” as part of the Kytch Trial. Kytch Trial

Agreement § J.

         110.   With these contractual protections in place, Kytch gave customers access to a

substantial amount of proprietary information and confidential documents. Kytch also sent

KSDs—each protected by the NDA—for use at McDonald’s franchise locations for one purpose:

to support and further the Kytch Trial.

         111.   Kytch shared its confidential and proprietary hardware and software designs only

with customers who executed the NDA. As explained further below, Gamble and other trial

participants betrayed Kytch and their contractual obligations when they used Kytch’s own

confidential information to compete against the company. This has caused irreparable harm to

Kytch.




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       112.    Kytch required that this information be protected with the NDA because this

confidential information is at the heart of Kytch’s business model and is what sets it apart from its

competitors, specifically Taylor and TFG.

       113.    Kytch’s proprietary materials offer a roadmap for a strategy that has never been

attempted in the soft-serve machine industry: using man-in-the-middle technology to communicate

with the finicky machines and to stabilize volatile software, all while providing real-time

notifications to customers. This offering reduced the need for costly repairs paid to Taylor and its

franchise distributors (including TFG).

       114.    Kytch introduced the industry to the revolutionary notion that these industrial

machines should be controlled by the restaurant owners and assisted intelligence, and that by

demystifying the complicated machines and reducing the need for costly service technicians,

Kytch could save its customers millions of dollars in recaptured revenue and reduced overhead.

Kytch’s cohesive strategy promises enormous returns, far more than current outputs from Taylor’s

competing technology.

       115.    Successfully executing this strategy would require a combination of innovative

thinking, expertise in the fast-food industry, and sensitivity to customers’ needs, together with a

willingness to invest significant time and resources into creating the analyses and conducting the

product testing to turn the strategy into a thriving business.

                 Taylor’s Early Efforts to Intercept the Kytch Solution
                    and to Access Kytch’s Confidential Information.
       116.    Protected by binding NDAs, Kytch released the Kytch Solution in April 2019

through the confidential Kytch Trial. Around the same time Taylor’s parent company Middleby

purchased an IoT startup PHD.




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       117.   The PHD acquisition demonstrated Middleby’s “increased interest and investment

in software and services related to its core equipment business.”12 Middleby intended to leverage

PHD’s IoT expertise to develop a solution to Taylor’s broken soft-serve machines.

       118.   However, the flawed hardware and software on Taylor’s machines blocked PHD’s

attempts to develop a workable IoT solution. So instead of developing its own products, Taylor

started trying to obtain the KSD less than three weeks after Middleby bought PHD.

       119.   Taylor’s attempts to secure a KSD failed because Kytch’s security protocols

flagged the attempted espionage.

       120.   During routine monitoring of its website (www.kytch.com) in April 2019, Kytch

discovered that Taylor representatives were trawling Kytch’s home page, including its Terms of

Service. This and other communications notified Taylor that Kytch’s operations—including its

proprietary information, and computers—were based in Fremont, California.

       121.   After scraping information from Kytch’s website, Taylor attempted to purchase a

KSD. On April 23, 2019, Taylor VP of Quality and Customer Service Dan Domberg instructed

Taylor Service Technology Manager Heather Jordan to order a KSD through www.kytch.com.

Kytch flagged, and then canceled, Ms. Jordan’s order after matching her shipping address to

Taylor’s headquarters.

       122.   When Taylor learned Kytch blocked its order, Taylor’s VP of Quality and Customer

Service told Heather Jordan that Taylor “should’ve ordered [the Kytch Solution] in stealth mode,”

adding a smiley face emoji for emphasis.




12
  Donovan Jones, Middleby Acquires Powerhouse Dynamics for Equipment IOT, Seeking Alpha
(Apr. 08, 20210), https://seekingalpha.com/article/4253430-middleby-acquires-powerhouse-
dynamics-for-equipment-iot.



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       123.    This marked the beginning of Taylor’s attempts to secure a KSD. A short time later

Taylor COO James Minard admitted that Kytch’s technology was more advanced than Taylor’s

and PHD’s. In a May 16, 2019 email, Minard directed Taylor’s Controls Manager Joseph Beard

to buy a Kytch Solution device because it “[s]eems we might be missing something in our approach

to our connected equipment.” Taylor’s CEO Jeremy Dobrowolski is copied on the message.




       124.    Taylor followed through on Minard’s instruction, this time opting to proceed

against Kytch using “stealth mode.”      Taylor ordered KSDs through its outside counsel at

Brinks Gilson to try to circumvent Kytch’s security protocols.         But Kytch identified the

prospective buyer as Taylor’s legal counsel and blocked the order.

       125.    Taylor doubled down on its efforts, and its counsel hired at least two private

investigators using assumed names to try to avoid raising suspicion. Just like the previous orders,

Kytch’s security precautions flagged and thwarted these attempts from Taylor to obtain KSDs.




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Taylor’s mission to covertly retrieve Kytch Solutions—and the attention Kytch received from

Taylor’s c-suite—is further evidence that Kytch’s technology has substantial economic value.

       126.    In May 2019 Taylor’s CEO Jeremy Dobrowolski wrote in an email that Taylor was

“continu[ing] to pursue the acquisition of one of [Kytch’s] devises [sic].” At the same time, Taylor

and PHD were trying, albeit unsuccessfully, to invent a competing solution for McDonald’s.

       127.    Unable to compete with Kytch, Taylor changed tack in June 2019 and directed its

outside counsel to send Kytch a cease-and-desist-letter.

       128.    After spending the previous six months trying to secretly obtain a KSD, Minard

emailed and called Kytch in October 2019 to discuss a potential licensing arrangement. Minard

told Kytch that Taylor was interested in purchasing rights to some of Kytch’s technology.

       129.    These discussions ended, however, after Kytch informed Taylor that it would not

share any proprietary information about the KSD or KSP unless, and until, Taylor signed an NDA.

       130.    According to Minard, by the end of 2019—less than four months after Middleby

acquired PHD—“Taylor decided to stop further development on its own IoT platform” because

Taylor lacked the “resources and expertise” necessary to “devote to the development of IoT

technology.”

       The Kytch Trial Expands to McDonald’s in Fall 2019 as McDonald’s
                        Rejects Taylor and PHD’s Open Kitchen.
       131.    While McDonald’s and Taylor were trying to secure a KSD, demand for Kytch

continued to grow throughout the spring and summer of 2019 as more restaurant operators adopted

the KSD and KSP. The earliest participants in the Kytch Trial were based in California. But by

fall, Kytch spread to McDonald’s restaurants across the United States.

       132.    Just as Kytch was gaining momentum with independent McDonald’s operators,

Taylor and PHD’s Open Kitchen efforts were failing. McDonald’s rejected Open Kitchen as



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premature to place into the McDonald’s system, and Taylor and PHD were forced to sideline their

IoT efforts.

       133.    In October 2019 Kytch was featured at the National Owners Association conference

in Dallas, Texas, where the Kytch Solution was showcased to the largest association of

independent U.S. McDonald’s franchise operators.

       134.    These independent franchisees control and operate several trade organizations,

including the NSLC. The NSLC collaborates with McDonald’s supply chain leadership and its

“Equipment Team”—led by Tyler Gamble—provides valuable insight to McDonald’s concerning

product innovations to potentially integrate into McDonald’s system.

       135.    One of the Equipment Team’s key focus areas is to find solutions for McDonald’s

soft-serve machine problem through the “McFlurry Task Force,” also known as the “Shake

Machine Reliability Project.”

       136.    McDonald’s and Taylor leveraged the NSLC and the Equipment Team to access

Kytch’s confidential information. Specifically, McDonald’s and Taylor coordinated with NSLC

Equipment Team Lead Tyler Gamble, NSLC Chair and Vice Chair Jon Kelley and Eric Wilson,

NSLC Competitive Advantage Team Lead Larry Miller, and Logistics Team Lead Laura Bucar.

  February 2020: After Reading News Reports of Kytch’s Success, McDonald’s
  Infiltrates Kytch’s Product Trial to Misappropriate Confidential Information.
       137.    By 2020, McDonald’s franchise operators enrolled in the Kytch Trial to test

Kytch Solution at restaurants in Arkansas, California, Connecticut, Georgia, Hawaii, Idaho,

Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maryland, Massachusetts, Michigan,

Minnesota, Mississippi, Montana, New Mexico, New York, North Carolina, Ohio, Oklahoma,

Oregon, Pennsylvania, South Carolina, Tennessee, Texas, Washington, and Wisconsin.




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          138.   As a result of this massive expansion, Kytch became the largest independent

IOT/connectivity software vendor for Taylor’s shake machines in the McDonald’s system. By all

appearances, the Kytch Solution was a viable remedy to many of the problems that had troubled

Taylor soft-serve machines and frustrated customers for years.

          139.   In February 2020, news outlets reported on Kytch’s success.




          140.   A February 11, 2020 Business Insider article discussing Kytch’s innovative product

was an inflection point. The article—titled “McDonald’s and Burger King franchisees are raving

about a new device that can update their notoriously broken soft-serve machines”—highlights

many of the problems with the soft-serve machines at McDonald’s.13 It also describes Kytch as a


13
     See footnote 5, supra.



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viable solution to this problem because the new technology “corrects unnecessary malfunctions”

that cause downtime.

       141.    On February 12, 2020, McDonald’s mentioned Kytch in its “Daily Briefing.” The

Daily Briefing describes some of the news coverage of Kytch and explains that McDonald’s

competitors—specifically Burger King, Tim Horton’s, and Popeyes—are “‘doubling down’ on

[their] modernization strategy.”

       142.    Customers contacted McDonald’s that same day asking how to sign up for Kytch.

This created a problem for McDonald’s and Taylor because Kytch was highlighting the problem

with the broken soft-serve machines, and Taylor and PHD lacked the technology to compete with

their own IoT solution.

       143.    Taylor and PHD exchanged emails describing their plan to take Kytch’s

confidential information. One such email says that Taylor and PHD were trying to develop a

“Kytch Replacement” and the central question for their competing product was: “How does it

compare with Kitch’s [sic] solution?”

       144.    On February 12, 2020, Taylor’s CEO, Jeremy Dobrowolski, and its COO,

James Minard, scheduled a one-hour teleconference for the following day to discuss “Kytch, and

Options for Data Collection for McDonald’s Equipment.” Senior leadership from McDonald’s

and Middleby were invited to the call, along with two independent McDonald’s franchise

operators, Gamble (McDonald’s Equipment Team Lead) and Eric Wilson (who previously served

the same position).

       145.    By this point, Taylor—working with McDonald’s—had been trying to circumvent

Kytch’s security protocols to obtain KSDs for ten months.




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       146.    McDonald’s and Taylor scheduled the February 13, 2020 call to direct McDonald’s

operators—including Gamble—to infiltrate the Kytch Trial and to obtain Kytch’s proprietary

insights and confidential information.

       147.    Gamble and others would then share these insights and Kytch confidential

information with McDonald’s, Taylor, and PHD so they could copy Kytch’s technology.

       148.    Before the meeting, Taylor sent a memo to McDonald’s, Gamble, and Wilson

providing “a summary of the Kytch device.”

       149.    The presentation contains pictures of KSDs from a South Carolina McDonald’s

franchise operator. Taylor admits in the document that it “attempted to obtain a Kytch device

through multiple channels and has been unsuccessful in doing so,” and explained that Taylor

was “continuing their efforts to obtain a unit from Kytch.”

       150.    McDonald’s Director of Global Equipment Mike Zagorski emailed Tyler Gamble

and Eric Wilson right after the meeting to thank them for agreeing to test Taylor’s competing

product. McDonald’s also stated that it would “arrang[e] options” with Gamble “on how we

should approach getting the device” from Kytch.

       151.    Tyler Gamble acted quickly. On the morning of February 14, less than one day

after the February 13 meeting, Gamble emailed Kytch’s founders to enroll in the Kytch Trial.14

       152.    Gamble spoke with Kytch later that day, at McDonald’s and Taylor’s urging.

Gamble told Kytch’s founder that he was eager to obtain the Kytch Solution. He also offered to

serve as the liaison between Kytch and the fast-food giant, promising to solidify Kytch’s

relationship with McDonald’s.


14
  Taylor’s internal emails confirm that it knew that Kytch was blocking its attempts to access the
KSD: “When we tried to obtain a unit from Kytch to evaluate how it works, they’ve not been
willing to provide us one.”



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       153.   Unbeknownst to Kytch, after Tyler Gamble contacted Kytch, but before he signed

the Kytch Trial Agreement, Taylor COO James Minard asked McDonald’s leadership to “[p]lease

let me know when you and your team have secured access to a Kytch unit and I will have my team

available for a complete review.”

       154.   On March 12, 2020—approximately one month after he first emailed Kytch—

Gamble called Kytch’s founder Jeremy O’Sullivan. During the call, Gamble said that he would

leverage his position with McDonald’s Equipment Team to encourage McDonald’s to adopt

Kytch’s technology. He also said McDonald’s and Taylor were offended that Kytch did not

approach them directly, and that Taylor would manufacture safety concerns to make Kytch “go

away” and leave the marketplace.

       155.   At the same time, Taylor and PHD continued to struggle to develop their competing

product for McDonald’s. Taylor tasked its “Technology Manager” Heather Jordan to develop the

user interface for “Open Kitchen.”

       156.   On March 13, 2020, Jordan complained that PHD lacked the capacity to compete

with Kytch. Taylor was trying to develop Open Kitchen, but PHD was unable to pull data from

Taylor’s soft-serve machines in real-time.   Thus, PHD could not identify when machines




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experienced errors, when buttons were pressed, or when functions were engaged to display on a

user-friendly interface:

               “I think we need to have a heart-to-heart conversation with [PHD]. I’m
               concerned they don’t have the resources to support us. I sent them U[ser]
               I[nterface] feedback a week ago and have not been able to confirm when
               the changes will be made. I know they’re probably in the same situation we
               are, but we need to understand their capacities before we can make a
               decision to move forward with them.”
                 Gamble Shares Kytch’s Confidential Information with
                               McDonald’s, TFG, and Taylor.
       157.    On March 19, 2020, Kytch and Gamble entered a valid and binding contract

whereby, in exchange for Gamble’s covenants of nondisclosure and secrecy, Kytch agreed to

provide its confidential information—including the Kytch Solution Device and Kytch Solution

Platform—to Gamble to use for the sole purpose of furthering the Kytch Trial.

       158.    When he signed the Kytch Trial Agreement, Gamble agreed that he would not—

nor permit others to—“access or use the Solution in order to build or support, and/or assist a third

party in building or supporting, products or services competitive to any Kytch Solution.” (Kytch

Trial Agreement § N.) Kytch’s Terms of Service also contain strict nondisclosure and

confidentiality obligations in Section 1(g).

       159.    Despite these covenants, Gamble enrolled in the Kytch Trial to misappropriate

Kytch’s confidential information to benefit McDonald’s and Taylor. Gamble shared Kytch’s

confidential information with McDonald’s, TFG, and Taylor. Specifically, Gamble provided a

KSD to TFG, and he even gave TFG his login credentials after sending screenshots of the KSP

and forwarding notifications from Kytch. He also forwarded notifications from the KSP to

Mike Zagorski.

       160.    On May 19, 2020, Gamble text messaged TFG principal Blaine Martin and TFG

technician Ben Rhodes (1) copies of notifications he received from the KSP and (2) a screenshot


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of the password protected portion of the KSP. Gamble’s text messages show that Gamble

repeatedly forwarded KSP notifications or screenshots to Martin, Rhodes, and other unauthorized

third parties.

        161.     TFG principal Blaine Martin and TFG employee Ben Rhodes unlawfully accessed

the Kytch Solution Platform after trafficking Tyler Gamble’s passwords despite reading and

accepting the Kytch Terms of Service.

        162.     On June 3, 2020, Blaine Martin asked Tyler Gamble if TFG could “access” the KSP

“to see the data it provides.”




        163.     Gamble agreed. Text messages with Gamble and TFG demonstrate that Rhodes

“logged in” to the KSP “with Blaine [Martin]’s credentials.” In another text exchange with

Rhodes, Gamble admits that he gave TFG principal Blaine Martin “a login to the [K]ytch device.”

(This “login” references the KSP.) Later that day Taylor started receiving notifications that the

KSP sent to Gamble’s account.

        164.     A short time after Gamble provided a KSD to TFG, Gamble invited someone

named “Matt,” using the telephone number for Blaine Martin to access the KSP. Martin used the

registered name “Matt” as an alias to try to hide the fact that he was accessing the KSP without

permission.




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       165.       This account, tied to TFG, obtained access to Kytch’s confidential information

through the KSD and KSP.          It would have taken McDonald’s years, millions of dollars, and a

vast trial program to obtain this confidential customer data.

       166.       Kytch has forensically confirmed that the fake account associated with TFG was

used to access the Kytch Solution Platform on multiple occasions.

       167.       There is also other significant forensic evidence that TFG accessed Kytch’s

confidential technology. The KSD Gamble provided to TFG was disconnected from the internet

beginning in June of 2020 until February 2021. However, its SD card was 90% full when it was

finally re-connected to the internet. The device log indicates that someone at TFG had been

accessing the KSD, and that the device was powered on and used for weeks after going offline.

       168.       Two days after Gamble gave TFG access to the KSP, TFG sent a screenshot of the

password-protected portions of the KSP to Taylor’s Technology Manager Heather Jordan. Martin

wrote: “[t]his is a picture of the Kytch screen. Wasn’t sure if anyone ever shared what it looked

like with you.”

       169.       Heather Jordan led the development of Open Kitchen, specifically the user interface

experience.

Throughout 2020, Gamble Continues to Share Kytch’s Confidential Information
                                  with McDonald’s and Taylor.
       170.       Gamble continued to leak Kytch’s confidential information to McDonald’s and

Taylor in Summer 2020. McDonald’s and Taylor pressured Gamble and other Kytch Trial

participants to violate their binding NDAs by sharing Kytch’s proprietary insights and helping

them develop Open Kitchen.




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       171.   Gamble has admitted that Scott Nicholas, Taylor’s Business Manager for

McDonald’s, “was asking franchisees” enrolled in the Kytch Trial “about the relative advantages”

between Kytch’s product and Open Kitchen.

       172.   Likewise, Gamble has admitted during litigation that he was talking with

McDonald’s repreentatives about the confidential Kytch Trial throughout 2020.

       173.   In June 2020, Tyler Gamble sent text messages to McDonald’s Director of Global

Equipment Development Mike Zagorski about the Kytch Solution device. Zagorski followed-up

with Gamble via email, and asked Gamble to meet with Taylor’s leadership—including Taylor’s

CEO and COO—to “catch up [] and understand what [he’s] learned, like[s], dislike[s], etc. so far

about [his] experience” with Kytch.




       174.   The following people were invited to join Tyler Gamble on that June 23, 2020 call:

Jeremy Dobrowolski (Taylor’s CEO), James Minard (Taylor’s COO), Scott Nicholas (Taylor’s

Senior Business Manager for McDonald’s), Mike Zagorski (McDonald’s Director of Global

Equipment Development), and John Sulit (McDonald’s Director of Global Strategic Sourcing).

       175.   Gamble disclosed Kytch’s confidential information during the call, and he

described “the overall satisfaction of the Kytch device as it compares to Taylor[‘s] competing

device.” Gamble also shared his reaction and thoughts concerning Kytch’s technology, proprietary




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information, and customer experience. Taylor COO James Minard has admitted that Gamble

“showed the Kytch platform” via screenshare so that McDonald’s and Taylor representatives could

access the password-protected portions of the KSP.

       176.    Minard captured images of Gamble’s screenshare reflecting password-protected

portions of the KSP. Minard screenshotted the portion of the KSP that controls one of the KSDs

that Gamble was assigned as a Kytch Trial participant.

       177.    Another one of Minard’s screen captures shows the portion of the KSP where Kytch

customers input a code to access their KSD and remotely control their Taylor soft-serve machines.

       178.    A third screenshot Minard captured shows notifications the KSP displays including

the machine’s fault and lockout and heat cycle histories.

       179.    Minard’s screenshots also show that Gamble shared screens of Taylor’s more

limited online interface to compare it with the KSP.

       180.    McDonald’s Director of Global Sourcing thanked Gamble in an email for providing

confidential information about Kytch: “In regards, to Kytch, we appreciate that you’ve been

keeping us informed of your findings on this aftermarket technology that you had installed in

your Taylor Shake Sundae machine.”

       181.    McDonald’s and Taylor tried to ramp up product development after receiving

feedback from Gamble. But instead of coming up with their own innovations, Taylor’s COO

James Minard emailed Taylor engineer Joseph Beard to ask him, “So how can we do the same

thing Kytch is doing as far as sending commands from a remote interface[?]”




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       182.   In another email, dated July 15, 2020, Minard says to “[t]ake today’s design” of the

Open Kitchen “[a]nd make it more ‘user friendly’ (Kytch Screenshot below).”




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       The Largest Group of Independent McDonald’s Franchise Operators
                             Endorses Kytch in October 2020.
       183.    Despite McDonald’s and Taylor’s sustained efforts to misappropriate Kytch’s

confidential information, Kytch continued to grow throughout 2020. Kytch customers gave

positive reviews, praising Kytch for reducing unnecessary service fees and for finally bringing

clarity to Taylor’s finicky machines. Its customer retention rate exceeded 90%.

       184.    Restaurant operators’ interest in Kytch spread like wildfire, and by October 2020,

hundreds of McDonald’s restaurants across the country relied on Kytch to keep their soft-serve

machines up and running. Kytch—through the Kytch Trial—demonstrated that its technology was

outpacing its peers in the competitive smart kitchen industry.

       185.    On October 7, 2020, the NOA (the largest association of independent McDonald’s

owners) endorsed Kytch at its annual conference.

       186.    The NOA endorsement brought more unwanted attention to the soft-serve machines

at McDonald’s. Business Insider published a story the next week explaining that because of Kytch,

“McDonald’s franchisees are taking matters into their own hands to fix the chain’s notoriously

broken soft-serve machines.”15

       187.    The article also reported that McDonald’s “soft-serve dilemma is not something

that can be ignored any longer” because “a software company called Kytch has put out a device

that corrects for machine error and helps machine users understand the details of the machine’s

behavior.”




15
   Shoshy Ciment, “McDonald’s franchisees are taking matters into their own hands to fix the
chain’s notoriously broken soft-serve machines,” Business Insider (Oct. 16, 2020),
https://www.businessinsider.com/mcdonalds-franchisees-will-tackle-soft-serve-machine-
problems-alone-2020-10.



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       188.    McDonald’s acknowledged that it could not compete with Kytch because

development of Open Kitchen had stalled. McDonald’s and Taylor had “been hung up with

Technology team since June to work on [their] platform,” and McDonald’s leadership complained

about the lack of progress, explaining “[t]hings need to go much faster.”

       189.    Less than a week after the Business Insider article was published, a software

engineer launched McBroken.com, a website that compiles statistics reflecting the number of

Taylor soft-serve machines that are out of commission at any one moment.




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       190.    Public backlash against McDonald’s was swift.




               McDonald’s Launches a False Advertising Campaign to
                           Unlawfully Compete Against Kytch.
       191.    Shortly after the NOA conference, Kytch quickly gained market share as it spread

to hundreds of McDonald’s locations throughout the country. This sent McDonald’s and Taylor

into crisis because Open Kitchen was nowhere near ready to launch but McDonald’s and Taylor

were desperate to drive Kytch from the marketplace.

       192.    They knew they had to create a stall tactic to interrupt Kytch’s rapid growth and

customer acquisition trajectories.

       193.    On October 16, 2020, Gerard Giustino–Chief Customer Officer at Middleby–sent

an email to Jeremy Dobrowolski (CEO at Taylor), James Minard (COO at Taylor), and Scott

Nicholas (Taylor’s Senior Business Manager for McDonald’s) acknowledging that the Kytch

Solution works: “Many operators who are testing the solution feel that the Kytch solution actually

eases operations and helps to reduce complexities of the machine.”

       194.    The email continues, “Mike [Zagorski] (McDonald’s Director of Global Equipment

Development) mentioned that without an alternate option [] to consider” McDonald’s would be



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forced to go with Kytch. Mike Zagorski explained, “If we don’t have a solution to offer, we have

no options.”

       195.    Three days after this email, Gamble text messaged Jeremy O’Sullivan and asked

him if there was “a way to ensure that no one using the Kytch device remotely accesses the machine

while a technician may be working on it? This is a big concern with M[cDonald’s ]HQ for safety

reasons.”

       196.    As a preliminary matter, McDonald’s and Taylor did not have “a big concern . . .

for safety reasons.”   Indeed, Gamble, himself, had warned Kytch six months earlier that

McDonald’s would fabricate safety concerns to disparage the Kytch Solution and disrupt Kytch’s

business. Moreover, McDonald’s knew the claims were inherently improbable because of Kytch’s

impeccable safety record.

       197.    Nonetheless, O’Sullivan responded and explained why the concern because of

“safety reasons” was baseless:




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       198.    Jeremy O’Sullivan explained these facts to McDonald’s Equipment Team Leader

Tyler Gamble less than two weeks before McDonald’s false advertisement. This, alone, should

have resolved any safety concerns about Kytch somehow causing serious human injury.

       199.    But McDonald’s and Taylor intentionally disregarded these facts to pursue their

preconceived narrative disparaging Kytch’s products.

       200.    Indeed, McDonald’s and Taylor already knew that Intertek had certified the Kytch

Solution; Intertek’s seal of approval is displayed prominently on the KSDs.

       201.    Several independent McDonald’s restaurant operators contacted Gamble,

McDonald’s, and Taylor to try to sign up for the Kytch Trial, and they expected McDonald’s to

approve the Kytch Solution and incorporate it into the McDonald’s system.

       202.    But Gamble explained that Kytch “will likely never be approved” because of “[b]ad

blood between [Kytch] and Taylor.” Gamble acknowledged that Kytch had the superior product

but he told operators to be patient because he was “getting very close to a version of the same type

technology by powerhouse dynamics, a division of Middleby. Taylor’s parent company.”

       203.    Gamble sent text messages to several other franchise operators warning them that

McDonald’s was about to issue an advertisement attacking Kytch. In response, an operator named

Danielle Marasco said that she thought Kytch was an effective product. Gamble agreed and said

that McDonald’s and Taylor “are supposedly concerned with the safety issue of being able to

remotely control the machine.”

       204.    Marasco replied with the true motivations for the disinformation campaign against

Kytch: “They are upset they didn’t invent it and they can’t profit off it.”

       205.    A few days later, McDonald’s and Taylor made good on their promise to drive

Kytch from the marketplace by fabricating safety concerns about the KSD. On November 2, 2020,




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McDonald’s and Taylor launched their false and deceptive disinformation campaign against

Kytch. Instead of promoting Open Kitchen through traditional advertising channels, McDonald’s

and Taylor issued a so-called “IMPORTANT NOTE” to publish false and disparaging statements

of fact about the quality and nature of Kytch’s product and services.

       206. On November 2, 2020, McDonald’s directed and published the

following false and defamatory statements about Kytch.16

       We are pleased to share that the McDonald’s GSSS-Equipment Team, in partnership with
       the NSLC Equipment Sub-Team, has been working on a strategic connectivity solution
       with Taylor for their Shake Sundae machine. This solution will allow operators to receive
       text updates from their machine when it’s down, and provide data on products dispensed,
       as well as other relevant information, to help restaurants keep the machine running in its
       optimal condition. This solution is being designed with long term benefits in mind, and
       would enable future connection with other equipment in the restaurants.

       The Taylor Shake Sundae Connectivity (TSSC) is currently in test [sic] with NSLC
       operators and the current target for release in the US market is by the end of Q1, 2021.
       IMPORTANT NOTE: We have become aware that a few operators may be using an
       unapproved aftermarket technology, Kytch, on their Shake Sundae machine. As a
       reminder, any operator that is using this aftermarket “add-on” to any of their machines,
       will completely void any existing OEM equipment warranty. Additionally, any machine
       failures that are associated with the installation of Kytch during or after warranty expires,
       will be the sole responsibility of the operator, not the OEM supplier. The Kytch device
       allows complete access to all aspects of the equipment’s controller and confidential data,
       including areas where only certified technicians should have access, creating potential
       equipment reliability issues without the restaurant’s knowledge or ability to stop it. Even
       more concerning, McDonald’s has recently determined that the Kytch device creates a
       potential very serious safety risk for the crew or technician attempting to clean or repair
       the machine, given that the Kytch controller may cause the device to change its operation
       or continue running during cleaning or maintenance, in a manner that can cause serious
       human injury. As such, McDonald’s strongly recommends that you remove the Kytch
       device from any machines and discontinue all use, and is reminding you that any continued
       use is not approved and is at your sole risk.




16
   McDonald’s contributed to Taylor’s advertisements by knowingly inducing and causing the
false advertisements to be published, and McDonald’s directed and participated in Taylor’s false
advertising.



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       207.    On November 2, 2020, McDonald’s and Taylor directed and published the

following false and defamatory statements:

       Taylor Shake Sundae Connectivity & Kytch Technology Update
       McDonald’s US Equipment Team, in partnership with NSLC, has been developing a
       strategic connectivity solution with Taylor for their Shake Sundae machine. The solution
       will allow operators to receive text updates when their machine is down, view number of
       products dispensed, and get other information to keep the. Machine running on optimal
       condition. The Taylor Shake Sundae Connectivity (TSSC) is currently in test with NSLC
       operators and the current target for release to the US market is by the end of Q1, 2021.
       IMPORTANT SAFETY NOTE: We have become aware that a few operators may be using
       an unapproved after-market technology, Kytch, on their Shake Sundae machine. This
       action will completely void any existing OEM equipment warranty. More importantly,
       McDonald’s and Taylor have recently determined that the Kytch device creates a potential
       very serious safety risk for the crew or technician attempting to clean or repair the machine
       due to its remote operation capability. As such, McDonald’s strongly recommends that
       you remove the Kytch device from any machines and discontinue all use. Any continued
       use is not approved and is at your sole risk.
       208.    McDonald’s and Taylor’s advertisements contain false claims about the

Kytch Solution and Taylor’s own products and services, including: (1) “the Kytch device creates

a potential very serious safety risk for the crew or technician attempting to clean or repair the

machine due to its remote operation capability”; (2) “the Kytch device creates a potential very

serious safety risk for the crew or technician attempting to clean or repair the machine, given that

the Kytch controller may cause the device to change its operation or continue running during

cleaning or maintenance, in a manner that can cause serious human injury”; (3) the Kytch Solution

is either not secure or is defectively designed such that its remote operation capabilities pose a

safety risk; (4) the KSD presents an increased safety risk to Taylor soft-serve machines vis-à-vis

Taylor machines without the KSD; (5) McDonald’s and Taylor “recently determined” that the

KSD poses a safety risk, even though no determination was made because McDonald’s and Taylor

deny ever having access to KSD; (6) the Kytch Solution “creat[es] potential equipment reliability

issues without the restaurant’s knowledge or ability to stop it”; (7) the hidden and uncontrollable



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“potential equipment reliability issues” Kytch creates are materially different or more problematic

than those caused by the C602 machines generally, or from repairs performed by a Taylor-certified

technician; (8) Taylor was ready for commercialization and planned to release the “Taylor Shake

Sundae Connectivity” project (Open Kitchen) by Q1 2021; and (9) Taylor’s competing device had

similar functionality to the Kytch Solution without presenting the supposed safety or reliability

risks. These statements are either expressly contradicted or unsupported by McDonald’s and

Taylor’s internal records.

       209.    McDonald’s and Taylor published multiple versions of this advertisement during

the first week of November. One version makes the additional false claim that “the Kytch

controller may cause the device to change its operation or continue running during cleaning or

maintenance, in a manner that can cause serious human injury.”

       210.    McDonald’s and Taylor sent these false advertisements in interstate commerce to

all McDonald’s restaurant operators and Taylor’s global distributor network. This constituted the

majority of Kytch’s then-customers, and it was a large portion of Kytch’s potential customer pool

associated with McDonald’s. The false advertisements and defamatory messages destroyed

Kytch’s goodwill with these third parties.

       211.    McDonald’s and Taylor also sent these and similar messages to RBI Brands and

Coca-Cola in 2020 to further disparage and defame the Kytch Solution.

       212.    McDonald’s and Taylor knew that their accusations were baseless and that they

would mislead consumers. But they issued the false advertisements as part of a stall tactic to buy

more time to develop the Open Kitchen concept.

       213.    The advertisements about Kytch are literally false and misleading in multiple

respects. First, McDonald’s and Taylor misled consumers into believing that they tested the KSD




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and factually “determined” that Kytch operates in an unsafe and dangerous manner. This is false.

Taylor has claimed in litigation that it did not test the KSD for safety. McDonald’s has also denied

obtaining the KSD for testing.

         214.   Second, the advertisements are literally false because they state that the KSD is

unsuitable or unsafe for use in kitchens, even though Intertek—one of the leading independent

testing laboratories in the world—confirmed and certified that Kytch’s products are safe for

consumers and that they comply with both FCC requirements and safety standards promulgated

by UL.

         215.   Third, far from being a safety hazard or creating “reliability issues,” the KSD

improves the effectiveness of the C602 machines. And, as explained above, Kytch’s safety record

is unblemished; the company has never received a single report of injury caused by the KSD.

         216.   Fourth, the KSD was designed to incorporate the safeguards Taylor designed in its

machines. This includes the magnetic interlock system and other safety features that prevent users

from inadvertently engaging the machine’s motor during cleaning and repair.

         217.   Fifth, there is no basis for McDonald’s and Taylor’s assertion that Kytch functions

“without the restaurant’s knowledge or ability to stop it.” As McDonald’s and Taylor know,

Kytch’s interface gives users complete monitoring and control of the KSD’s functions. This

monitoring is not available on the C602 machines.

         218.   McDonald’s intentionally disregarded these facts to convince customers to

“remove the Kytch device from any machines and discontinue all use” of Kytch’s products.

         219.   The context and framing of McDonald’s advertising further show that McDonald’s

intended to make—and did make—false statements of fact about Kytch.




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       220.    McDonald’s purposefully used the words “IMPORTANT NOTE” in bold, capital

letters to describe the “serious safety risk” and “serious human injury” to create the overall

impression in the mind of reasonable consumers and readers alike that McDonald’s and Taylor

“determined”—through product safety testing or through other scientific findings—that the KSD

posed a substantial hazard to health and safety.

       221.    McDonald’s intentionally communicated to consumers that the KSD was

technically unreliable, unsuitable to use in commercial kitchens, and dangerous to human health

and safety.

       222.    McDonald’s false statements about Kytch had their intended effect.

       223.    Shortly after receiving the false advertisement, Kytch’s customers started canceling

their subscriptions and cutting ties with Kytch. Several Kytch subscribers said they believed

McDonald’s false and deceptive claim that the Kytch Solution “poses a safety risk” and is known

to cause human injury. They also stated that they had no choice but to wait until Q1 2021 to

purchase Taylor’s competing device.

       224.    McDonald’s and Taylor’s false advertisements created these consumer reactions

and permanently damaged Kytch’s ability to compete in the marketplace.

  After Urging Consumers to Boycott Kytch, McDonald’s Directed Gamble and
      Others to Continue to Use the KSD to Help Taylor Incorporate Kytch’s
                              Technology into Open Kitchen.
       225.    McDonald’s and Taylor’s public advertisements describe Kytch as a dangerous,

unreliable product. Privately, however, McDonald’s and Taylor relied on Kytch’s active users to

gain access to Kytch’s proprietary insights leading into 2021.




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          226.   McDonald’s enlisted several Kytch customers to test Open Kitchen beginning in

November 2020. Taylor had promised to commercialize its Open Kitchen concept by Q1 2021,

but McDonald’s, Taylor and PHD never intended to meet this deadline.

          227.   Rather, McDonald’s and Taylor intentionally misrepresented Open Kitchen’s

release date to mislead consumers into believing that a solution to Taylor’s broken machines was

imminent. By telling prospective purchasers that the Open Kitchen would be available soon,

McDonald’s and Taylor persuaded consumers to stop using—and to refrain from buying—Kytch’s

device.

          228.   Desperate to appear that they would launch Open Kitchen during Q1 2021,

McDonald’s and Taylor targeted Kytch users—including Gamble, Eric Wilson, and

David Balducci—to attend bi-weekly focus groups to jumpstart the development of Open Kitchen.

Meeting minutes from the focus groups confirm that McDonald’s and Taylor solicited “feedback

from operator[s] using Kytch” to identify “[f]eatures from Kytch that [Open Kitchen] lack[ed].”

          229.   McDonald’s and Taylor continued to direct restaurant operators to use the Kytch

Solution for at least three months after the November 2020 false advertisements. During that time

McDonald’s and Taylor received feedback from Kytch’s customers explaining that the Kytch

Solution was safe, reliable, and that it would not cause “serious human injury.”

          230.   The documents further demonstrate that Taylor and PHD copied Kytch’s design,

user interface, features, and customer preferences. If McDonald’s and Taylor actually believed

that Kytch was unreliable and unsafe, Taylor would not have systematically copied Kytch’s

technology and product offerings.




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           231.   In January 2021 PHD released images of the new device, and its offerings and trade

dress are strikingly similar to the machine depicted in a Kytch user-video that was released years

earlier.

           232.   Specifically, of the hundreds of device functions within the respective products, the

three functions PHD decided to animate in its marketing materials are identical to the functions

depicted in Kytch’s rendering.




           233.   Additionally, information about the product that is available demonstrates that all

of the features in the PHD’s device are already within Kytch’s product offerings.




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        234.   PHD’s product provides servings reports that copy Kytch’s methods for optimizing

the C602 machines.

        235.   PHD promised to offer real-time alerts for the same problems that Kytch was

designed to monitor and adjust.

        236.   In its current form, the Taylor soft-serve machine is incapable of connecting to the

internet. Therefore, PHD is likely adding a computing module (raspberry pi or the like) that has

wi-fi capabilities. Just like the KSD.

        237.   PHD’s version of Kytch references Kytch’s landmark features, its design, and

several components that were subject to binding non-disclosure agreements and that were not

publicly available.17

     McDonald’s, Taylor, and Middleby Have Repeatedly Misled Consumers with
     Empty Promises About the “Imminent Release” of Workable IoT Solutions.
        238.   In addition to misrepresenting the quality and nature of the Kytch Solution,

McDonald’s and Taylor assured consumers that they would launch Open Kitchen during Q1 2021.

But Open Kitchen is still not on the market as of the time of this filing.




17
  Kytch filed a complaint Alameda County Superior Court based on trade secret misappropriation,
breach of contract, and tortious interference with contract against Taylor, Gamble, and TFG.
McDonald’s and PHD responded by representing that they could not release Open Kitchen if the
Court issued that injunction. This is a striking admission that Open Kitchen has incorporated
Kytch’s technology using feedback from Kytch trial participants.



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       239.    Text messages from Gamble demonstrate that in January 2021—two months after

the Open Kitchen announcement—Taylor knew it would be unable to meet the advertised release

date. Instead of the Q1 2021 deadline, Gamble hedged and assured restaurant operators that Open

Kitchen “should be made available by summer 2021.”

       240.    This is not the first time that McDonald’s, Taylor, and Middleby have lied about

their ability to fix Taylor’s soft-serve machines. McDonald’s and Taylor contend that a fix is right

around the corner whenever media outlets report on their broken machines. But year after year,

those fixes never materialize.

       241.    For example, Business Insider published a story in March 2017 about the broken

soft-serve machines.    A spokesperson for the company said that McDonald’s was “finally

replacing its ice cream machines, after years of complaints from customers.”18 Four years later,

McDonald’s has not replaced its machines and the machines are still broken.

       242.    Taylor marketed “an addition to” its supposed IoT platform, Taylor ATLAS (the

precursor to Open Kitchen), throughout 2018. Taylor promised that this new product would

“provide[] customers the ability to monitor data and initiate service to avoid downtime with Taylor

equipment.” But Taylor ATLAS had only rudimentary data acquisition and analysis capabilities

and, unlike the Kytch Solution, did not allow users to fix malfunctioning soft-serve machines or

to monitor the soft-serve machines in real-time.




18
  Kate Taylor, McDonald’s is making a big change after years of complaints from customers,
Business Insider (Mar. 3, 2017), www.businessinsider.com/mcdonalds-is-getting-new-ice-cream-
machines-2017-3.



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       243.    Taylor never released this product.

       244.    As Taylor touted the ATLAS platform in Spring 2019, Middleby started advertising

another IoT solution called Middleby Connect.          Middleby’s marketing materials describe

Middleby Connect as an “IoT-based equipment management system for the food service and

baking industries” that provides “one point of access to all [] equipment across Middleby brands

[and] orders.” Middleby Connect also promised to “save [customers] money on many aspects of

operation” such as “updating programs and software.”

       245.    Middleby Connect supposedly “g[a]ve[s] [users] a quick and easy overview of all

[their] equipment and can notify [them] before operational problems arise . . . [and allows]

technician[s] . . . to see the service status of [] equipment and which components need replacement

soon,” facilitating “preventative maintenance, and more efficient service calls.”




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       246.    These claims are false. If Middleby Connect had the connective diagnostic and

over-the-air update capabilities Middleby claimed, Taylor could have competed with the Kytch

Solution—and it would not have developed Open Kitchen in the first place.

       247.    Much like Taylor ATLAS, Middleby appears to have abandoned its Middleby

Connect technology, and the Middleby Connect website (www.MiddlebyConnect.com) was

deactivated around the time Kytch filed suit against Taylor in California state court in May 2021.




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       248.    In April 2019, Middleby acquired PHD, and later that year began marketing PHD’s

SiteSage technology as a “[c]onnected [k]itchen” “IoT [s]olution” for addressing, among other

things, “equipment performance.”

       249.    SiteSage, like Taylor ATLAS, is a low-tech platform incapable of performing many

of the complex diagnostic functions carried out by the Kytch Solution, and without the man-in-

the-middle technology that allows users of the Kytch Solution to remotely interact with, and repair,

Taylor soft-serve machines.

       250.    SiteSage failed to provide a solution and it never launched as advertised.

                   McDonald’s Published the False Advertisements
                          with Reckless Disregard for the Truth.
       251.    Before publishing its false advertisements, McDonald’s knew—but intentionally

misrepresented, disregarded, and concealed—facts that disproved its false preconceived narrative

that Kytch is unsafe or unreliable. The facts include:

                 The KSD successfully completed Intertek’s rigorous, independent laboratory

                  testing and satisfied applicable safety standards promulgated by the UL and the

                  FCC. These are the same standards that govern the soft-serve machines and

                  other kitchen appliances in McDonald’s.

                 Intertek’s seal of approval is featured prominently on the KSDs that Taylor

                  accessed and viewed beginning in February 2020.

                 The KSD integrates and is constrained by Taylor’s existing safety mechanisms.

                  For example, the KSD utilizes Taylor’s magnetic interlock system to disable the

                  machines’ control panel. This immobilizes motor function to protect operators

                  or technicians from being injured.




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       252.    Gamble provided this information to McDonald’s and Taylor in October 2020.

McDonald’s also knew the following facts before publishing the false statements about Kytch:

                 Kytch improves the reliability of the C602 machines, as evidenced by numerous

                  news reports reviewed by Taylor’s CEO and COO, customer feedback Taylor

                  received describing the increased uptime and improved functioning made

                  possible via the KSD, and because Kytch’s customers reported fewer machine

                  outages and their service requests decreased.

                 Despite their representations to the contrary, McDonald’s and Taylor never

                  actually “determined” that Kytch was unsafe or unreliable. They fabricated

                  those concerns to drive Kytch out of the marketplace as a stall tactic to buy more

                  time to develop Open Kitchen.

                 McDonald’s and Taylor know the “reliability issues” are caused by their own

                  machines. For decades McDonald’s and Taylor have admitted that the machines

                  are notorious for breaking down.

       253.    McDonald’s manufactured the safety concerns as part of its preconceived narrative

to destroy Kytch’s business. McDonald’s and Taylor created this narrative in February of 2020 a

short time after Business Insider reported on Kytch’s early successes. Kytch was Taylor’s only

competition in the marketplace, and Taylor knew that restaurant operators would adopt Kytch’s

innovative technology to reduce overhead and increase revenue by improving ice cream sales. In

February 2020, McDonald’s and Taylor’s leadership explained to McDonald’s franchise operators

Gamble and Wilson that it would deploy the false safety claims about the KSD when Kytch gained

traction in the market.




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          254.   McDonald’s also intentionally avoided obvious sources of information that

contradicted its statements. For example, McDonald’s did not contact Intertek or the FCC to raise

these safety concerns. McDonald’s has also never communicated with Kytch founders

Jeremy O’Sullivan or Melissa Nelson to discuss Kytch’s safety.

          255.   McDonald’s accusations are also inherently improbable. The largest organization

of independent McDonald’s franchise operators in the world endorsed Kytch as an effective and

reliable solution to fix Taylor’s soft-serve machines. McDonald’s knew that many of these

franchise operators were directly involved in McDonald’s product development efforts, and that

they had spent thousands of hours using and observing the KSD.            The National Owners

Association would not have endorsed Kytch’s product if Taylor’s explosive safety claims were

true.

          256.   Indeed, the October 2020 endorsement from the National Owners Association

triggered Taylor’s false advertisements against Kytch. As demand for Kytch grew, McDonald’s

informed Taylor that its independent owners were pressuring corporate leadership to adopt Kytch

into the McDonald’s system to alleviate the exorbitant repair fees they were being forced to pay

Taylor.

          257.   Taylor’s solution was not ready for market and McDonald’s and Taylor needed a

stall tactic to buy more time to develop Open Kitchen. So they manufactured the false ads

attacking Kytch’s safety record and reliability. They also falsely claimed that Open Kitchen would

be released in Q1 of 2021 despite knowing that they needed more than a year to develop their

technology.

          258.   McDonald’s and its longtime partner Taylor also had a strong financial motive to

misrepresent the facts about Kytch’s products and about their own products. Kytch threatened to




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shed light on the true reason that McDonald’s soft-serve machines are always broken: to protect

Taylor’s repair racket. This would cause immense reputational harm to McDonald’s among the

public and from the independent franchise operators that are forced to pay unnecessary service and

repair fees. By contrast, if Taylor commanded the market for soft-serve machine IoT devices then

all the data would remain in Taylor’s hand’s, allowing McDonald’s and Taylor to keep control of

the information and the narrative.

       259.    Further, Taylor would provide McDonald’s with a monopoly on the new

technology. This would allow McDonald’s to tout the innovation and its exclusivity, placating

franchise operators who are frustrated with the machines’ frequent outages and downtime.

       260.    Separate and apart from these pre-publication indicators of its actual malice,

Taylor’s conduct after publication provides even more evidence of its actual malice and disregard

for the truth. Despite instructing users to “discontinue use” of Kytch’s products based on the false

safety claims, from November 2020 through January 2021, McDonald’s directed a subset of

customers to continue to use KSDs so that Taylor could incorporate Kytch’s innovations into Open

Kitchen.

           McDonald’s and Taylor Doubled Down on Their False Claims
           Even After Kytch Provided Formal Written Notice of the Facts.
       261.    Kytch tried to mitigate the harm caused by McDonald’s and Taylor’s false

advertisements by demanding a full retraction on December 7, 2020. The letter provided “written

notice of the falsity of Taylor’s claims about Kytch” and explained why Taylor’s claims are false

and defamatory:

               There is absolutely zero support, whatsoever, for Taylor’s claim that
               Kytch “creates a potential very serious safety risk” or its accusation that
               Kytch “can cause serious human injury.” Tellingly, Taylor has failed to
               even attempt to corroborate its prevarications about Kytch’s safety record.
               In fact, Kytch underwent extensive product testing and certification at



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              Intertek during product development to ensure that it satisfies all
              Underwriters Laboratories (UL) electrical safety requirements. Kytch
              conforms to ULL STD 62368-1 and has successfully completed EMC
              testing consistent with the requirements of 47CFR Subpart B§§ 15.101 -
              15.123. There have not been any reported “human injur[ies]” of any kind
              that were caused by Kytch’s devices. To be clear, Kytch does not
              permanently alter the machine, and it certainly does not disable or
              otherwise negate any of the machine’s factory-installed safety
              mechanisms. The opposite is true: Kytch warns the user when a particular
              component of the machine may fail and it monitors how often and
              effectively each machine is cleaned, thus optimizing operating conditions.

              Moreover, Kytch was designed to complement the existing safety tools,
              including but not limited to quality control of the ice cream’s temperatures.
              The “IMPORTANT NOTICE” fails to provide substantive details regarding
              what supposedly makes Kytch unsafe to operate. It does, however, claim
              that Kytch is “creating potential equipment reliability issues without the
              restaurant’s knowledge or ability to stop it.” This is a complete fabrication.
              Rather, Taylor has intentionally created “equipment reliability issues” for
              years, and its service department has charged hundreds of millions of dollars
              in fees for repairs that Taylor itself caused. Taylor’s claim that Kytch’s
              remote-control capabilities present a safety hazard is also manifestly false.
              Kytch’s functionality only permits users to control a machine in the same
              way that the machine is operated without Kytch. For example, just like a
              human operator, Kytch can only utilize the same functions that are available
              to workers using a Taylor machine without Kytch. In other words, Kytch
              is restricted by all of the same safety mechanisms that constrain human
              operators.
      262.    A copy of the December 7, 2020 letter is attached as Exhibit 2.

      263.    On September 21, 2021, Kytch sent a retraction demand letter to McDonald’s

explaining, once again, that McDonald’s and Taylor’s claims about Kytch were false and

defamatory:

              McDonald’s has long known that Kytch presents no safety hazard to
              individuals “attempting to clean or repair” the machines. First, Kytch
              disables automation features when any user is cleaning the interior of the
              machine or pressing buttons on the control panel. Kytch cannot remotely
              engage the soft-serve machines’ motors when the freezer door is removed.
              Kytch co-founder Jeremy O’Sullivan explained all of this, in no uncertain
              terms, to McDonald’s Equipment Team Leader Tyler Gamble less than two
              weeks before McDonald’s false advertisement. This, alone, should have




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               resolved any safety concerns about Kytch somehow causing serious human
               injury.
               Second, Intertek has conducted extensive product testing and concluded
               that the Kytch Solution satisfies all electrical safety requirements in
               accordance with United Laboratory (UL) regulations. Kytch conforms to
               UL STD 62368-1 and has successfully completed EMC testing consistent
               with the requirements of 47 CFR Subpart B 15.101 -15.123. Indeed, the
               UL regulations are the standard to which Taylor’s soft-serve machines in
               thousands of McDonald’s restaurants must adhere. In fact, according to
               Taylor’s own marketing materials, “most [] Taylor equipment is approved
               for electrical safety through Underwriter’s Laboratories (UL) regulations.”
               Taylor Food Company, FAQs – Technical and Electrical,
               https://www.taylor-company.com/en/about/faq.
               Third, while McDonald’s was encouraging its franchisees to abandon
               Kytch’s product with the fraudulent “Safety Note,” it was simultaneously
               urging franchisees in leadership and on its Equipment Team to continue
               using the product so that McDonald’s and Taylor could unfairly compete
               against Kytch. If the “safety” concerns were legitimate, McDonald’s would
               have told its own Equipment Team to stop using Kytch as well.
       264.    A copy of the September 21, 2021 letter is attached as Exhibit 3.

       265.    McDonald’s and Taylor disregarded Kytch’s retraction demand and failed to

respond to the merits of Kytch’s letters. To date, they have refused to retract their false and

damaging accusations against Kytch.

    McDonald’s Tortious and Unlawful Conduct Destroyed Kytch’s Business.
       266.    McDonald’s tortious conduct grievously injured Kytch—a fast-growing company

with devoted customers—at a critical time in its development, destroying the business.

       267.    Kytch’s enterprise value is a fraction of what it was before McDonald’s and

Taylor’s disparaging ads. Kytch’s reputation has become tainted by McDonald’s and Taylor’s

false claims that the KSD is unsafe, known to cause human injury, and unreliable.

       268.    McDonald’s and Taylor’s statements have undermined public trust and consumer

confidence in Kytch and in the security and reliability of its hardware and software solutions.




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       269.    The statements go directly to the heart of Kytch’s trade. Kytch spent years in

product development to create a safe solution to modernize Taylor’s soft-serve machines.

       270.    Kytch entered the market in late 2019 and roughly doubled its customer base each

quarter over its first year of operation. As of October 2020, Kytch had 425 subscribers and a 93%

customer retention rate. Due to the significant value the Kytch Solution offered to franchise

owners, the company was able to successfully raise prices three times in its first year of

operation—from a $0 activation fee and $10 per month, to a $250 activation fee and $29 per month,

to a $250 activation fee and $39 per month. Kytch further anticipated raising prices one more time

to charge $49 per month.

       271.    Beyond the activation fee and subscription fee revenues it was already collecting

from its customer base, in October 2020 Kytch had four additional products in development. First,

Kytch was testing a remote diagnosis service, offering basic service and advice via telephone and

online chat. Second, Kytch’s planned e-commerce business would sell replacement parts for

Taylor machines and connect them with qualified repair technicians outside the Taylor network.

Third, Kytch planned to launch an “API and Data” business, which would monetize the treasure

trove of data Kytch was gathering by observing the Taylor machines. This product relied upon

the growth of the Kytch Solution to gather data. Fourth, Kytch planned its own operating system,

which would be licensed to commercial grade appliance manufacturers like Taylor.

       272.    Kytch was also in serious talks with prominent Silicon Valley Venture Capital firms

to raise a $10 million Series A, on a $50 million dollar valuation.

       273.    McDonald’s conduct radically changed the business landscape for Kytch—its good

will among restaurant franchise owners has been destroyed, its business has dried up, and Kytch’s

innovative solutions are now in McDonald’s and Taylor’s hands.




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       274.    Beginning in November 2020, Kytch lost nearly all its existing customers, cratering

to just 83 renewing devices in 2021. Despite its prior growth (Kytch sales were doubling each

quarter), Kytch has attracted essentially no new customers.

       275.    Kytch was forced to abandon its plans to develop new product lines when

McDonald’s decimated Kytch’s client base— without subscribers, the product lines are no longer

a viable model.

       276.    Kytch has lost millions in profits to date and will lose many millions in profit in the

years to come. Kytch’s valuation has plummeted to as low as $3 million.

       277.    By contrast, Taylor has continued to rake in $75 million in annual revenue from its

repair racket at McDonald’s and other restaurants.

                                    CAUSES OF ACTION19
                                 FIRST CAUSE OF ACTION
                               Tortious Interference of Contract
       278.    Kytch repeats and re-alleges every allegation set forth in this Complaint.

       279.    Kytch entered into NDAs with the Kytch Trial participants including but not limited

to: Tyler Gamble; Eric Wilson; David Balducci; Kevin Moore; Jon Kelley; Vincent Spadea; Main,

Waters Enterprises, LLC; MNM Enterprises LLC; Eliecer Palacios; Iron Arch Management;

Melanie Roach and others.

       280.    The NDA is incorporated into the Kytch Trial Agreement through the Terms of

Service and constitutes a valid and enforceable contract pursuant to which Kytch provided Kytch

Trial participants and Authorized Users access to the Kytch Solution in exchange for covenants of

confidentiality, non-disclosure, and agreements for the sole purpose of furthering the Kytch Trial.


19
   The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of these claims all readings that might otherwise be construed
to be outside of their scope.



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        281.    The NDA expressly prohibits Kytch customers and Authorized Users from aiding

or assisting any third-party in developing or testing a product or service competitive to Kytch.

        282.    McDonald’s had actual knowledge of the NDAs between Kytch and its customers.

McDonald’s also knew that Kytch only provides access to the Kytch Solution under binding

confidentiality and non-disclosure agreements.

        283.    Indeed, McDonald’s specifically targeted Kytch Trial participants and induced

them to disclose Kytch’s Confidential Information, in breach of the Kytch Trial Agreement and

Terms of Service. McDonald’s also induced Kytch Trial participants into republishing and

disclosing Kytch’s services in to assist McDonald’s and Taylor’s development of their

Open Kitchen product.

        284.    These intentional actions caused Kytch considerable damage by disrupting its

contractual relationships with Gamble and other Kytch Trial participants.

        285.    McDonald’s misconduct has resulted in breaches of the Kytch Trial Agreement and

the Terms of Service.

        286.    Further, Kytch is informed and believes that McDonald’s conspired with, aided and

abetted, or acted in concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants,

or that their individual acts and omissions collectively inflicted a single, indivisible injury on

Kytch. Accordingly, McDonald’s is liable for the damages caused by the acts and omissions of

those other entities.

        287.    As a direct and proximate result of these tortious actions, Kytch has suffered severe

and substantial economic harm.

                               SECOND CAUSE OF ACTION
                  False Advertising - Lanham Act (15 U.S.C. § 1125(a)(1)(B))
        288.    Kytch repeats and re-alleges every allegation set forth in this Complaint.




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       289.         Beginning on November 2, 2020, McDonald’s —working jointly and in concert

with Taylor—arranged for false and deceptive advertising to be distributed in interstate commerce

via the internet to thousands of McDonald’s franchise operators and thousands of Taylor

customers, factory-trained technicians, and distributors, across the world.

       290.         McDonald’s and Taylor directed these advertisements to consumers and the public.

       291.         The advertisements contain false claims about the Kytch Solution and Taylor’s

products and services, including:

                i.     “the Kytch device creates a potential very serious safety risk for the crew or

                       technician attempting to clean or repair the machine due to its remote operation

                       capability”;

              ii.      “the Kytch device creates a potential very serious safety risk for the crew or

                       technician attempting to clean or repair the machine, given that the Kytch

                       controller may cause the device to change its operation or continue running

                       during cleaning or maintenance, in a manner that can cause serious human

                       injury”;

              iii.     the Kytch Solution is either not secure or is defectively designed such that its

                       remote operation capabilities pose a safety risk;

              iv.      the KSD presents an increased safety risk to Taylor machines vis-à-vis Taylor

                       machines without the KSD;

               v.      McDonald’s and Taylor “recently determined” that the KSD poses a safety risk

                       by product safety testing or other scientific analysis;

              vi.      the Kytch Solution “creat[es] potential equipment reliability issues without the

                       restaurant’s knowledge or ability to stop it”;




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            vii.      the “potential equipment reliability issues” Kytch creates are materially

                      different or more problematic than those resulting from Taylor machines

                      generally, or from repairs performed by a Taylor-certified technician;

           viii.      Taylor planned to release Open Kitchen in the US market … by the end of Q1,

                      2021”;

              ix.     Taylor was ready for commercialization and had incorporated the necessary

                      technology to release the “Taylor Shake Sundae Connectivity” by Q1, 2021;

                      and

              x.      the Taylor Shake Sundae Connectivity device would offer similar functionality

                      to the Kytch Solution without the supposed safety or reliability risk.

       292.        McDonald’s claims are false because they conflict with reality in several ways, as

set forth above.

       293.        McDonald’s claims had the tendency to deceive a substantial segment of the target

audience, Taylor intended that they deceive the target audience, and they did in fact deceive the

target audience.

       294.        Because McDonald’s false claims concerned health, safety, and inherent

characteristics of the products at issue, consumers necessarily found them to be material.

       295.        Further, the facts show that consumers in fact found McDonald’s false claims to be

material to their purchasing decisions. Among other things, Kytch’s customers started cancelling

their subscriptions and returning KSDs immediately following the November 2, 2020

advertisements and Kytch’s business collapsed. Customers also specifically informed Kytch that

they credited the representations and found them to be material. For example, on November 6,

2020, one Kytch customer stated that he was cancelling his subscription because of the




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“determination” that the Kytch Solution “poses a safety risk.” Another customer explained that

Taylor was “actually working out a similar-type-deal in-house,” and that he, too, was withdrawing

from the Kytch Trial based on Taylor’s bogus safety concerns.

       296.     McDonald’s is jointly and severally liable for both its own false claims about Kytch

and the similar claims Taylor disseminated to all U.S. operators because McDonald’s and Taylor

worked together to develop the false message, and each contributed to the dissemination of the

communication.

       297.     McDonald’s false claims eroded Kytch’s goodwill among consumers and caused

Kytch’s customers and prospective customers to cease doing business with Kytch.

       298.     Instead, consumers chose McDonald’s and Taylor’s forthcoming competing

product or chose to continue relying on Taylor’s costly replacement parts and repair services. This

led to the virtual destruction of Kytch’s business and provided McDonald’s and Taylor with ill-

gotten gains.

       299.     Kytch demands that McDonald’s be ordered to account for and pay to Kytch all

gains, profits, and advantages derived by McDonald’s or Taylor from the above-described

wrongful acts and that the Court issue an order multiplying or otherwise enhancing any award

under the Lanham Act.

                               THIRD CAUSE OF ACTION
          False Advertising in Violation of Cal. Bus. & Prof. Code § 17500, et seq.
       300.     Kytch repeats and re-alleges every allegation set forth in this Complaint.

       301.     Beginning on November 2, 2020, McDonald’s—working jointly in concert with

Taylor—arranged for false and deceptive advertising to be distributed in interstate commerce via

the internet to thousands of McDonald’s franchise operators and thousands of Taylor customers,




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factory-trained technicians, and distributors, across the world. Recipients included thousands of

Californians.

       302.        The advertisements contained the literally and impliedly false claims about the

Kytch Solution and Taylor’s own products and services listed above.

       303.        McDonald’s claims are false because they conflict with reality in several ways, as

set forth above.

       304.        McDonald’s knew or by the exercise of reasonable care should have known that its

conduct would cause confusion, mistake or deception among purchasers, users and the public.

       305.        As a direct and proximate result of McDonald’s conduct, Kytch has suffered injury

and has lost revenue, causing Kytch hundreds of millions of dollars in damages.

                                   FOURTH CAUSE OF ACTION
                                         Trade Libel
       306.        Kytch repeats and re-alleges every allegation set forth above.

       307.        McDonald’s issued the following false and deceptive statements of fact about the

Kytch Solution:

                 i.   Beginning shortly before November 2, 2020, McDonald’s falsely claimed in

                      advertisements to consumers, franchise operators, Kytch’s customers and

                      potential customers, and other players in the “smart kitchen” market, in words

                      or substance, that the Kytch Solution is unsafe, that the Kytch Solution is prone

                      to cause serious human injury, and that the Kytch Solution was unfit for use in

                      smart kitchens. In making these false claims, McDonald’s acted in concert with

                      Taylor and its distributors to promote this disinformation about Kytch.

                ii.   On November 2, 2020, McDonald’s directed and published the following false

                      and defamatory statements:




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                 We are pleased to share that the McDonald’s GSSS-Equipment Team, in
                 partnership with the NSLC Equipment Sub-Team, has been working on
                 a strategic connectivity solution with Taylor for their Shake Sundae
                 machine. This solution will allow operators to receive text updates from
                 their machine when it’s down, and provide data on products dispensed,
                 as well as other relevant information, to help restaurants keep the
                 machine running in its optimal condition. This solution is being designed
                 with long term benefits in mind, and would enable future connection with
                 other equipment in the restaurants.

                 The Taylor Shake Sundae Connectivity (TSSC) is currently in test [sic]
                 with NSLC operators and the current target for release in the US
                 market is by the end of Q1, 2021.
                 IMPORTANT NOTE: We have become aware that a few operators
                 may be using an unapproved aftermarket technology, Kytch, on their
                 Shake Sundae machine. As a reminder, any operator that is using this
                 aftermarket “add-on” to any of their machines, will completely void any
                 existing OEM equipment warranty. Additionally, any machine failures
                 that are associated with the installation of Kytch during or after warranty
                 expires, will be the sole responsibility of the operator, not the OEM
                 supplier. The Kytch device allows complete access to all aspects of the
                 equipment’s controller and confidential data, including areas where only
                 certified technicians should have access, creating potential equipment
                 reliability issues without the restaurant’s knowledge or ability to stop it.
                 Even more concerning, McDonald’s has recently determined that the
                 Kytch device creates a potential very serious safety risk for the crew or
                 technician attempting to clean or repair the machine, given that the Kytch
                 controller may cause the device to change its operation or continue
                 running during cleaning or maintenance, in a manner that can cause
                 serious human injury. As such, McDonald’s strongly recommends that
                 you remove the Kytch device from any machines and discontinue all use,
                 and is reminding you that any continued use is not approved and is at
                 your sole risk.
    iii.   On November 2, 2020, McDonald’s, in coordination with Taylor, directed and

           published the following false and defamatory statements:

                 Taylor Shake Sundae Connectivity & Kytch Technology Update
                 McDonald’s US Equipment Team, in partnership with NSLC, has been
                 developing a strategic connectivity solution with Taylor for their Shake
                 Sundae machine. The solution will allow operators to receive text
                 updates when their machine is down, view number of products
                 dispensed, and get other information to keep the. Machine running on
                 optimal condition. The Taylor Shake Sundae Connectivity (TSSC) is



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                          currently in test with NSLC operators and the current target for release
                          to the US market is by the end of Q1, 2021
                          IMPORTANT SAFETY NOTE: We have become aware that a few
                          operators may be using an unapproved after-market technology, Kytch,
                          on their Shake Sundae machine. This action will completely void any
                          existing OEM equipment warranty. More importantly, McDonald’s and
                          Taylor have recently determined that the Kytch device creates a potential
                          very serious safety risk for the crew or technician attempting to clean or
                          repair the machine due to its remote operation capability. As such,
                          McDonald’s strongly recommends that you remove the Kytch device
                          from any machines and discontinue all use. Any continued use is not
                          approved and is at your sole risk.
       308.    McDonald’s made similar statements to RBI, Coca-Cola, and Burger King

throughout 2020.

       309.    McDonald’s statements were intended and did falsely convey that the

Kytch Solution is a dangerous product that is known to cause serious human injury, and that it

damages the machines without the operators’ knowledge.

       310.    These accusations are reasonably understood to be statements of fact about Kytch

and were understood by people who read them to be statements of fact about Kytch. Kytch has

never received a report of “serious human injury” attributed to the Kytch Solution.

       311.    Kytch’s customers started returning Kytch Solutions immediately. One franchise

operator stated that he could not accept “the liability of using [Kytch’s] device” because the device

poses a serious safety risk.

       312.    On November 6, 2020, one Kytch customer stated that he was cancelling his

subscription because McDonald’s had made the “determination” that the Kytch Solution “poses a

safety risk.” That same day, another customer explained that Taylor was “actually working out a

similar-type-deal in-house,” and that he, too, was discontinuing the Kytch Trial based on Taylor’s

bogus safety concerns. Brandon Mayers, Rikesh Patel, Michael Keenan, the Tom Locke group,

and Rick Darmody are among these customers.



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       313.    McDonald’s advertisements are literally false because they say that the Kytch

Solution is unsuitable or unsafe for use in commercial kitchens. Kytch is both safe and suitable

for use in commercial kitchens; it does not create an incremental risk of injury caused by Taylor’s

soft-serve machines. The Kytch Solution has improved the functioning and effectiveness of

Taylor’s soft-serve machines. The Kytch Solution incorporates, utilizes, and is constrained by the

soft-serve machines’ existing safety protocols and mechanisms. Kytch’s users can remotely

monitor and control the soft-serve machines. Kytch disables automation features when any user

is cleaning the interior of the machine or pressing buttons on the control panel. Kytch cannot

remotely engage the soft-serve machines’ motors when the freezer door is removed.

       314.    Kytch has been approved by the FCC and certified by Intertek—a world renown

multinational assurance, inspection, product testing, and certification company headquartered in

London.

       315.    McDonald’s claim that consumers are unable to view or control the Kytch Solution

is also literally false. Kytch does not create reliability issues without the knowledge or control of

the operator. The Kytch Rewind allows users to view the functionality of the Kytch Solution.

Users can control their Taylor soft-serve machines remotely, and they can opt-in or opt-out Kytch’s

automated features.

       316.    These statements are defamatory and libelous as a matter of law.

       317.    McDonald’s statements were calculated to—and did—provoke outrage and cause

the company enormous reputational and financial damage, to McDonald’s benefit.

       318.    McDonald’s knew that its statements were false and had actual knowledge that

Kytch does not create any incremental risk in Taylor’s soft-serve machines. In February 2020,

Taylor met with McDonald’s, The Middleby Corporation, Eric Wilson, and Tyler Gamble to




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discuss infiltrating the Kytch Trial. The next month, on March 12, 2020, Gamble warned Kytch

that McDonald’s intended to fabricate safety concerns to drive Kytch out of the marketplace.

       319.    McDonald’s true motivations for publishing the false statements were to destroy

Kytch’s business by disrupting its relationships with customers. And to conceal the repair racket.

McDonald’s published the statements immediately after independent McDonald’s franchise

operators endorsed Kytch in October 2020.        Taylor’s competing device was not ready for

commercialization; but it needed more time to develop its product before Kytch fully penetrated

the market.

       320.    In October 2020, McDonald’s received messages that described, in detail, Kytch’s

safety components and the fact that it incorporates Taylor’s existing safety mechanisms. The

messages—and independent research—put McDonald’s on notice that Kytch was certified by

Intertek, using the same safety regulations used by Taylor.

       321.    Throughout 2020, McDonald’s received insight from Kytch customers regarding

the Kytch Solution and the Kytch Rewind function. McDonald’s did not have legitimate concerns

about safety—Taylor continued to direct Kytch customers to use the Kytch Solution for months

after the November 2020 false statements about Kytch.

       322.    McDonald’s claims are completely uncorroborated, and McDonald’s intentionally

avoided obvious sources of information regarding the Kytch Solution. McDonald’s never once

contacted Kytch to discuss the manufactured safety issues, and McDonald’s never tried to

corroborate its false accusations because it knew they were baseless.

       323.    Kytch sent a retraction demand to McDonald’s in September 2021. A copy of that

demand letter is attached as Exhibit 3.      Kytch informed Taylor that its accusations were




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demonstrably false and described the myriad reasons that McDonald’s defamatory statements were

contradicted by the facts.

        324.    McDonald’s refused to retract its statements, and it never provided any justification

to support its false claims about the KSD.

        325.    The relevant statements are commercial speech, and McDonald’s had no applicable

privilege or legal authorization to make these false and defamatory statements, or if it did, it abused

that privilege or authorization.

        326.    Further, Kytch is informed and believes that McDonald’s conspired with, aided and

abetted, or acted in concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants,

or that their individual acts and omissions collectively inflicted a single, indivisible injury on

Kytch. Accordingly, McDonald’s is liable for the damages caused by the acts and omissions of

those other entities.

                                  FIFTH CAUSE OF ACTION
                        Intentional Interference with Business Expectancy
        327.    Kytch repeats and re-alleges every allegation set forth in this Complaint.

        328.    Kytch developed valuable contractual and other business and economic

relationships with McDonald’s franchise operators. Those franchise operators have engaged in,

engage in, are scheduled to engage in, or may engage in business dealings with Kytch, with a

probability of future economic benefit.

        329.    McDonald’s knows and at all relevant times knew of these contractual and other

business and economic relationships between Kytch and the McDonald’s franchise operators

because, among other things, their own documents show that they were paying close attention to

McDonald’s operators’ adoption of the Kytch Solution and that Taylor and TFG used their

network of repair technicians to systematically identify machines to which a KSD was attached.




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       330.    McDonald’s acted intentionally to induce Kytch’s customers and prospective

customers to discontinue their existing and prospective business relationships with Kytch by (a)

making the unlawful statements identified in Counts 2 - 4 to all Kytch customers and potential

customers; (b) threatening to void the warrantees on machines to which a KSD had been attached

even though Taylor lacked any legal right to do so, never intended to do so, and, in fact, never did

so; and (c) stealing Kytch’s confidential information in an effort to develop Taylor and PHD’s

competing product by using Kytch’s proprietary insights, described above.

       331.    McDonald’s knew that its conduct was substantially certain to interfere with

Kytch’s economic interests, namely its ability to retain existing customers and obtain new

customers. McDonald’s acted knowingly and intentionally and with reckless disregard of the

foreseeable consequences of its actions.

       332.    McDonald’s conduct was intended to intimidate and scare Kytch’s customers and

prospective customers into ceasing to do business with Kytch and to instead adopt Taylor’s

forthcoming competing product or to continue using Taylor’s and TFG’s costly replacement parts

and repair services at an astronomical and unnecessary rate.

       333.    McDonald’s conduct is and was wrongful—independent of any interference with

the business and economic relationships discussed here—because it constitutes product

disparagement, false advertising, trade libel, extortion, and misappropriation.

       334.    McDonald’s wrongful conduct caused certain of Kytch’s customers to cease or

curtail their relationships with Kytch. Kytch’s contractual and other business and economic

relationships with these third parties have been, and continue to be, disrupted by McDonald’s

conduct.




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            335.   As a result of McDonald’s conduct, which disrupted Kytch’s business relationships,

Kytch has suffered injury to its reputation and lost substantial revenue in an amount to be proved

at trial.

            336.   Further, Kytch is informed and believes that McDonald’s conspired with, aided and

abetted, or acted in concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants,

or that their individual acts and omissions collectively inflicted a single, indivisible injury on

Kytch. Accordingly, McDonald’s is liable for the damages caused by the acts and omissions of

those other entities.

                                   SIXTH CAUSE OF ACTION
                          Negligent Interference with Business Expectancy
            337.   Kytch repeats and re-alleges every allegation set forth in this Complaint.

            338.   Kytch developed valuable contractual and other business and economic

relationships with McDonald’s franchise operators. Those franchise operators have engaged in,

engage in, are scheduled to engage in, or may engage in business dealings with Kytch, with a

probability of future economic benefit.

            339.   McDonald’s knows and at all relevant times knew of these contractual and other

business and economic relationships between Kytch and the franchise operators because, among

other things, their own documents show that they were paying close attention to franchise

operators’ adoption of the Kytch Solution and that Taylor and TFG used their network of repair

technicians to systematically identify machines to which a KSD was attached.

            340.   McDonald’s acted, at minimum, negligently when inducing Kytch’s customers and

prospective customers to discontinue their existing and prospective business relationships with

Kytch by (a) making the unlawful statements identified above to all Kytch customers and potential

customers; (b) threatening to void the warrantees on machines to which a KSD had been attached




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even though McDonald’s lacked any legal right to do so, never intended to do so, and, in fact,

never did so; and (c) stealing Kytch’s confidential information in an effort to develop Taylor and

PHD’s competing product by using Kytch’s proprietary insights, described above.

        341.    By doing so, McDonald’s failed to act with due care.

        342.    McDonald’s knew or should have known that a failure to act with due care would

disrupt Kytch’s relationships with McDonald’s franchise operators.

        343.    McDonald’s owed Kytch a duty of care since they knew or should have known of

Kytch’s relationships with McDonald’s operators and knew or should have known that its failure

to act with due care would disrupt that relationship.

        344.    McDonald’s conduct was and is wrongful—independent of any interference with

the business and economic relationships discussed here—because it constitutes product

disparagement, false advertising, trade libel, extortion, and misappropriation.

        345.    Kytch’s contractual and other business and economic relationships with its

customers have and continue to be disrupted by McDonald’s conduct.

        346.    As a result of McDonald’s conduct, Kytch has suffered injury to its reputation and

lost substantial revenue in an amount to be proved at trial.

        347.    Further, Kytch is informed and believes that McDonald’s conspired with, aided and

abetted, or acted in concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants,

or that their individual acts and omissions collectively inflicted a single, indivisible injury on

Kytch. Accordingly, McDonald’s is liable for the damages caused by the acts and omissions of

those other entities.

                              SEVENTH CAUSE OF ACTION
                  Deceptive Trade Practices - Cal. Bus. & Prof. Code § 17200
        348.    Kytch repeats and re-alleges every allegation set forth in this Complaint.




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        349.    McDonald’s has engaged in unlawful, unfair, and otherwise prohibited business

acts and practices, as outlined above. McDonald’s conduct was knowing, deliberate, willful, and

intended to cause confusion, mistake or to deceive, all in blatant disregard of Kytch’s rights.

        350.    Further, McDonald’s has engaged in unlawful, unethical, and wrongful conduct by

threatening to void the warrantees on machines to which a KSD had been attached even though it

lacked any legal basis to do so and, in fact, it never did so. McDonald’s conduct was intended to

intimidate and scare Kytch’s customers and prospective customers into ceasing to do business with

Kytch and to instead adopt McDonald’s and Taylor’s forthcoming competing product or to

continue using Taylor’s costly replacement parts and repair services at an astronomical rate.

        351.    As a direct and proximate result of McDonald’s wrongful conduct, as alleged

herein, Kytch has been and will be deprived of substantial sales of its products and good will

among McDonald’s franchise operators and other customers and sustained hundreds of millions

of dollars in loss.

        352.    Kytch seeks restitution in this matter, including an order granting McDonald’s

profits stemming from its illegal activity, Kytch’s actual and compensatory damages, and any other

restitution award available by law.

        353.    Further, Kytch is informed and believes that McDonald’s conspired with, aided and

abetted, or acted in concert with Taylor, TFG, PHD, Gamble, and other Kytch Trial participants,

or that their individual acts and omissions collectively inflicted a single, indivisible injury on

Kytch. Accordingly, McDonald’s is liable for the damages caused by the acts and omissions of

those other entities.

                                      PRAYER FOR RELIEF
        WHEREFORE, Kytch respectfully requests that the Court enter an award and judgment

in its favor, and against McDonald’s Corporation, as follows:


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(a)    that the Court award injunctive relief, including ordering that:

        i.      McDonald’s, its officers, agents, servants, employees, and all persons in active

                concert or participation with them, be preliminarily and permanently restrained

                and   enjoined   from    misappropriating,   disclosing,    or   using   Kytch’s

                Confidential Information

       ii.      McDonald’s recall and surrender all material wrongfully misappropriated or

                converted;

      iii.      McDonald’s, its officers, agents, servants and employees, and all people or

                entities in active concert and participation with it be preliminarily and

                permanently enjoined from further disseminating the false and deceptive claims

                described herein in any form or medium;

      iv.       McDonald’s to withdraw and retrieve all offending communications from the

                marketplace;

       v.       McDonald’s to disseminate corrective communications to dispel the false and

                deceptive messages described herein;

      vi.       McDonald’s be enjoined from further accessing Kytch’s computer networks

                and data without permission;

      vii.      McDonald’s be enjoined from using any information already obtained from

                accessing Kytch’s computer networks and data without permission.

(b)    awarding Kytch general compensatory damages in an amount to be determined at

       trial;




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        (c)   awarding Kytch damages for (1) lost profits; (2) lost enterprise value; and (3) out-of-

              pocket expenses to protect its confidential information and expenses incurred

              combatting McDonald’s false statements;

        (d)   awarding Kytch exemplary and punitive damages;

        (e)   awarding Kytch pre- and post-judgment interest;

        (f)   awarding Kytch all expenses and costs, including attorneys’ fees; and

        (g)   injunctive and such other further relief as the Court deems appropriate.

                                   DEMAND FOR JURY TRIAL
        Kytch hereby demands trial by jury for all causes of action, claims, or issues in this action

that are triable as a matter of right to a jury.




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Dated: March 1, 2022              Respectfully submitted,

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